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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

DONALD BROADNAX,                 )
                                 )
      Petitioner,                )
                                 )
      vs.                        )                      CASE NO. 2:13-CV-1142-AKK
                                 )
JEFFERSON S. DUNN, )
Commissioner, Alabama Department )
of Corrections,                  )
                                 )
      Respondent.                )

                               MEMORANDUM OPINION

       This case is before the court on Donald Broadnax’s Petition for Writ of Habeas

Corpus by Prisoner in State Custody Under Death Sentence Pursuant to 28 U.S.C. §

2254. Doc. 1.1 Broadnax stands convicted of four counts of capital murder for the

murders of his wife, Hector Jan Stamps Broadnax, and her grandson, DeAngelo

Stamps. In his Petition, Broadnax seeks relief from this conviction. After careful

consideration, the Petition, doc. 1, is due to be denied.




       1
        “Doc. ___” refers to the docket number assigned to each document filed in the court’s
electronic filing system. Citations to the state-court record, (doc. 12), reflect the volume, tab, and
page numbers assigned by respondent.
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                              I. BACKGROUND

      The Alabama Court of Criminal Appeals [“ACCA”] set forth the following

with regard to the offense conduct and the proceedings:

             In 1997, Broadnax was convicted of four counts of capital murder
      for the beating deaths of his wife, Hector Jan Stamps Broadnax, and her
      four-year-old grandson, DeAngelo Stamps. The murders were made
      capital (1) because two or more persons were murdered pursuant to one
      scheme or course of conduct, see § 13A-5-40(a)(10), Ala. Code 1975;
      (2) because Broadnax had been convicted of another murder in the 20
      years preceding those murders, see § 13A-5-40(a)(13), Ala. Code 1975;
      (3) because the murders were committed during the course of a
      kidnapping, see § 13A-5-40(a)(1), Ala. Code 1975; and (4) because
      DeAngelo Stamps was under 14 years of age at the time of his death, see
      § 13A-5-40(a)(15), Ala. Code 1975.              The jury unanimously
      recommended that Broadnax be sentenced to death for his convictions,
      and the trial court followed the jury’s recommendation and sentenced
      Broadnax to death. [The ACCA] affirmed Broadnax’s convictions and
      sentence on appeal, Broadnax v. State, 825 So. 2d 134 (Ala. Crim. App.
      2000), and the Alabama Supreme Court affirmed this Court’s judgment,
      Ex parte Broadnax, 825 So. 2d 233 (Ala. 2001). . . . The United States
      Supreme Court denied certiorari review on June 28, 2002. Broadnax v.
      Alabama, 536 U.S. 964, 122 S. Ct. 2675, 153 L. Ed. 2d 847 (2002).

            In this Court’s opinion affirming Broadnax’s convictions and
      sentence, we set out the facts of the crimes as follows:

                  “. . . In April 1996, Donald Broadnax, who had been
            convicted in 1978 for murder and who was serving a sentence of
            99 years’ imprisonment, was residing at a work release center in
            Alexander City and working at Welborn Forest Products in
            Alexander City. In 1995 Broadnax married Hector Jan Stamps
            Broadnax, who at the time of the marriage had a three-year-old
            grandson, DeAngelo Stamps. Broadnax and Jan were having
            marital problems and Broadnax believed that Jan was partially

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          responsible for a recent denial of parole.2 The evidence indicated
          that after 6:00 p.m. on April 25, 1996, Jan and DeAngelo
          delivered food to Broadnax at his workplace. Johnny Baker, an
          inmate at the work release center and Broadnax’s coworker at
          Welborn, testified that he saw Broadnax driving Jan’s car at
          Welborn that evening. According to Baker, Broadnax stopped to
          talk with him and he saw a child in a child’s safety seat in the
          backseat. Baker testified that he was ‘pretty sure’ the child was
          alive when he talked with Broadnax.

                   “At approximately 10:45 p.m. that same night, Mark
          Chastain, a [leadman] at Welborn, found Broadnax inside a
          building while securing the building for the night. Chastain
          testified that he told Broadnax that the alarm had been set and that
          they had to exit the building. According to Chastain, when he
          asked Broadnax why he was still in the building, Broadnax stated
          that the work release van had dropped him off . . . .

                “Kathy Chastain, Mark Chastain’s wife, testified that while
          she was outside the building waiting for her husband to secure the
          building, she saw an individual matching Broadnax’s description
          get out of a [white king-cab pickup truck] and run into the
          building.

                 “On April 25, 1996, Robert Williams and his wife were
          living across the street from a house in Birmingham that had in
          the past been used as a ‘crack-house’ and for prostitution. On that
          evening as Williams and his wife left their house at approximately
          8:20 p.m., they noticed no cars were parked at the house across
          the street. When they returned at approximately 8:50 p.m., they
          saw a white Dodge Aries automobile parked behind the house.
          Because of the previous illegal activities occurring at the house,
          Williams telephoned the police and reported the presence of the
          car.



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    Broadnax was denied parole on April 15, 1996. See doc. 12, Vol. 5 at 441.

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          “Alondo McCurdy and Donna Smith, officers for the
    Birmingham Police Department, responded to the call and arrived
    at the residence at approximately 9:00 p.m. When they
    approached the parked car, they noticed blood on the ground
    behind the car and on the bumper. Based on their observations,
    they immediately radioed their supervisor and the paramedics,
    and secured the scene. It was later determined that the car
    belonged to Jan Broadnax.

          “When the paramedics arrived, they opened the locked
    trunk and found the bodies of Jan and DeAngelo in the trunk.
    Both Jan and DeAngelo had been beaten. According to Dr.
    Robert Brissie, the forensic pathologist who performed the
    autopsies on the victims, blunt-force trauma, which could have
    been caused by the use of a piece of lumber such as the one found
    in the trunk with the bodies, caused the deaths of Jan and
    DeAngelo.

          “On April 27, 1996, Lawrence Hardnette, an inmate
    resident at the work release center in Alexander City, found a
    work uniform that did not belong to him stuffed under his bunk.
    At about the same time, James Smith, another inmate resident of
    the work release center, found a pair of Red Wing brand work
    boots under his bunk. The uniform and the boots were turned
    over to the supervisors and were later identified as belonging to
    Broadnax. Broadnax was the only one at the work center who
    wore Red Wing work boots; there were also identifying marks on
    the work uniforms indicating that the uniforms had been issued
    to Broadnax. When the work uniform and the boots were
    examined, bloodstains were found on the uniform [and the boots].
    The analysis of the bloodstains [on the uniform] indicated that the
    deoxyribonucleic acid (‘DNA’) in these bloodstains matched the
    DNA of Jan and DeAngelo.

          “On the grounds at Welborn near a finishing products
    storage facility, employees found an earring that matched an
    earring found on the rear floorboard of Jan’s car. The evidence

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      appeared to indicate that Jan was killed at Broadnax’s workplace
      in Alexander City, that her body was placed in the trunk of the
      car, and that the car was driven to Birmingham. Officer Vince
      Cunningham of the Birmingham Police Department testified that
      while conducting the investigation, he traveled from the location
      where the bodies were found in Birmingham to Broadnax’s
      workplace in Alexander City [several times and determined that
      the drive time was no more than one and one-half hours]. [Thus,
      a]ccording to Cunningham, Broadnax could have easily traveled
      the distance between the two locations within the time frame set
      out by the evidence.”

825 So. 2d at 150-51.

       In addition to the above, the State presented evidence at trial
indicating that the piece of lumber found in the trunk of the vehicle with
the victims was similar to the lumber used at Welborn and that a blue
cloth similar to cloth used at Welborn was also found in the trunk of the
vehicle. The State also presented evidence indicating that the blood
spatter on the rear of the vehicle was consistent with a beating. The
State presented testimony that a few days before the murders Broadnax
had told a fellow employee at Welborn that he was upset with Jan
regarding the denial of his parole, which had occurred on April 15,
1996, and that he was planning to kill Jan. The State also presented
testimony regarding two statements Broadnax made to the police. In his
statements, Broadnax said that Jan had brought him dinner at Welborn
the night of the murders and that she had left Welborn at approximately
8:20 p.m. Broadnax also said that he had been at Welborn the entire day
and evening of the murders, until approximately 10:45 p.m., and that he
had telephoned his brother from Welborn at approximately 9:00 p.m.
However, the State introduced telephone records indicating that no
telephone call had been made to Broadnax’s brother’s house the night
of April 25, 1996. When questioned specifically about the bloody boots
and the Welborn work uniform belonging to him that were found in the
work-release facility, Broadnax stated that he had sold the boots to
another inmate, although he could not identify that inmate,
approximately a year earlier and that the uniform had been stolen about

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      two months earlier. Broadnax also said that he had reported the theft of
      his uniform to the company who made and rented the uniforms to
      Welborn; however, the State presented testimony at trial that no report
      of a stolen uniform had been made to the uniform company.

Broadnax v. State, 130 So. 3d 1232, 1236-39 (Ala. Crim. App. 2013)(original

footnotes omitted; footnotes added).

      At trial:

             The State’s theory of the case was that between approximately
      6:30 p.m. and 10:30 p.m. the night of April 25, 1996, Broadnax brutally
      beat his wife, Jan, to death at Welborn; put Jan’s body in the trunk of her
      car; drove the car with Jan’s grandson, DeAngelo, in the backseat, to
      Birmingham to a location near Elyton Village where Broadnax had
      grown up and presumably had friends; brutally beat DeAngelo to death
      in that location; placed DeAngelo’s body in the trunk of the car with
      Jan’s body; and found someone to drive him back to Welborn, where
      Mark and Kathy Chastain saw Broadnax around 10:30 p.m.

             The defense’s theory of the case was that Broadnax had been at
      Welborn all day and all evening on April 25, 1996 – as Broadnax had
      said in his statements to police – and that the State’s evidence was
      insufficient to prove that Broadnax had committed the murders.
      Although the defense called no witnesses, they vigorously
      cross-examined the State’s witnesses and called into question the State’s
      time line of events as well as the credibility of the State’s witnesses,
      some of whom were inmates themselves.

Id. at 1239.

      The penalty phase of Broadnax’s trial began immediately following the jury’s

verdict. See doc. 12, Vol. 8, Tab 20 at 299-302. The State relied on the evidence it

presented during the guilt phase, and Broadnax offered the testimony of his sister,

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Dorothy McKinstry. See id., Tab 21 at 307; id., Tab 22 at 308. The jury unanimously

recommended a sentence of death, Broadnax, 825 So. 2d at 150, and the trial court

followed the recommendation, see doc. 12, Vol. 1, Tab 2 at 22.

      In its sentencing order, the trial court stated it had found the four aggravating

circumstances offered by the State: (1) “the capital offense was committed by a

person under sentence of imprisonment pursuant to 13A-5-49(1),” (2) “the capital

offense was committed by the Defendant after he had previously been convicted of

a felony involving the use . . . of violence to a person pursuant to 13A-5-49(2),” (3)

“the capital offense was committed while the Defendant was engaged in the

commission of . . . [k]idnapping pursuant to 13A-5-49(4),” and (4) “the capital felony

was especially heinous, atrocious [or] cruel [HAC] pursuant to 13A-5-49([8]).” Id.

at 21. The court stated it had not found a statutory mitigating circumstance pursuant

to Ala. Code § 13A-5-51(1), (4), (5), and (7), id. at 22, or any non-statutory mitigating

circumstances, stating, inter alia, –

      No additional testimony was taken during the punishment phase of the
      proceedings as the attorneys for the Defendant advised the Court that the
      Defendant did not wish to present any evidence at the punishment phase.
      The Court specifically asked the Defendant if that was his wish and he
      said he did not wish to present any evidence at the evidentiary stage of
      the punishment phase. The Court then questioned the Defendant as to
      his request, determined that the request was knowingly made by the
      Defendant whereby he knowingly waive[d] his right to presentation of
      any evidence at the punishment phase.

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Id. at 18-19. The court found “beyond a reasonable doubt and to a moral certainty

that the aggravating circumstances outweigh the mitigating circumstances and [are]

sufficient to uphold the jury’s recommendation of punishment at death.” Id. at 22.

      On appeal, although the ACCA affirmed Broadnax’s conviction and sentence,

it remanded the case to the trial court to correct its sentencing order:

      The trial court’s sentencing order does not acknowledge that [Dorothy]
      McKinstry testified and does not indicate what, if any, mitigating
      evidence was presented through her testimony. In addition, the
      sentencing order does not specifically address the existence or
      nonexistence of each of the aggravating circumstances provided in §
      13A-5-50, Ala. Code 1975; the existence or nonexistence of each of the
      mitigating circumstances provided in § 13A-5-51, Ala. Code 1975; or
      the existence or nonexistence of any nonstatutory mitigating
      circumstances provided in § 13A-5-52, Ala. Code 1975.

      After reviewing the trial court’s sentencing order and the record on
      appeal, we agree with the state that remand is necessary for the trial
      court to correct certain errors and omissions in its sentencing order.
      Therefore, this cause is remanded with instructions that the trial court 1)
      review those portions of the record concerning the penalty phase of trial,
      2) make new findings regarding each of the aggravating circumstances
      and the mitigating circumstances, 3) weigh those aggravating and
      mitigating circumstances and determine whether the aggravating
      circumstances outweigh the mitigating circumstances, and 4) enter a
      proper sentencing order as required by § 13A-5-47(d), Ala. Code 1975.
      No new sentencing hearing is required. . . . The trial court is granted
      the authority to resentence Broadnax in the event the court determines
      that death is not the appropriate sentence. See Parker v. State, 587 So.
      2d 1072 (Ala. Cr. App.1991), aff’d, 610 So. 2d 1181 (Ala. 1992), cert.
      denied, 509 U.S. 929, 113 S. Ct. 3053, 125 L. Ed. 2d 737 (1993). A
      return should be made to this Court within 35 days from the date of this
      opinion.

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 Broadnax, 825 So. 2d at 221-22 (footnote omitted).

      The trial court filed a corrected sentencing order, which found, again, all four

aggravating circumstances offered by the State, and it noted:

      The especially heinous, atrocious, or cruel aggravating circumstance
      pursuant to § 13A-5-49(8) was well established [by the evidence] which
      showed that the victim, Hector J. Stamps, was brutally murdered in the
      presence of her grandson, DeAngelo Stamps, and immediately after the
      murder, the victim, DeAngelo Stamps’s grandmother, was stuffed into
      the trunk of the automobile and driven from the scene of the first
      murder[,] approximately one and a half hours away[,] to the scene of the
      second murder where the four-year-old grandson, DeAngelo Stamps,
      was brutally murdered. The manner in which the death of the
      grandmother was caused in the presence of the four-year-old grandson
      and the manner in which the death of the four-year-old grandson ensued
      and the terror inflicted on the mind of the four-year-old grandson raises
      this crime to a conscienceless and pitiless crime which was
      unnecessarily torturous to the victim and, therefore, fell into the
      category of especially heinous, atrocious, or cruel.

Id. at 230-31 (Appendix A)(original alterations deleted; alterations added). The court

specifically addressed the statutory mitigating circumstances set forth in Ala. Code

§ 13A-5-51(1)-(7) and found none were present. Id. at 231-32. In this sentencing

order, the court addressed Dorothy McKinstry’s testimony, finding that any

mitigating circumstance to which she may have testified “was greatly outweighed by

the aggravating circumstances . . . and that even . . . if [her testimony supported a

finding of] a mitigating circumstance, . . . it [was] totally outweighed by the




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aggravating circumstances as presented by the evidence.” Id. at 233. Thus, the court

again upheld the jury’s recommendation of a death sentence.

       The ACCA affirmed. Id. at 226. And, the Alabama Supreme Court granted

certiorari and affirmed.3 The United States Supreme Court denied certiorari review.

Broadnax v. Alabama, 536 U.S. 964 (2002).

       Thereafter, Broadnax filed a petition for post-conviction relief pursuant to Ala.

R. Crim. P. 32. See generally doc. 12, Vol 21, Tab 52 at 192-200 to Vol. 22 at 201-

293. And, as the ACCA outlined,

       On September 24, 2003, the State responded to the petition. On
       September 26, 2003, the circuit court summarily dismissed several of the
       claims in Broadnax’s petition and ordered Broadnax to amend several
       other claims to comply with the pleading requirements in Rule 32.3 and
       Rule 32.6(b). After obtaining multiple extensions, Broadnax filed his
       first amended petition on January 16, 2004, in which he incorporated all
       the claims from his original petition and expanded on some of those
       claims. On March 8, 2004, and March 10, 2004, respectively, the State
       responded to the first amended petition. On March 23, 2004, the circuit
       court summarily dismissed several of the claims in Broadnax’s petition
       and scheduled an evidentiary hearing on the remaining claims.



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        Among other things, the Alabama Supreme Court found that “[t]he trial court’s instruction
regarding the standard necessary for finding a mitigating circumstance was incorrect,” Ex parte
Broadnax, 825 So. 2d at 235, 237; that the error was harmless because the incorrect jury instruction
“had no impact on the jury’s recommendation or on the trial court’s sentence of death.” Id. at 237;
and that the trial court’s instruction – “regarding the . . . aggravating circumstance” – had not
“resulted in an overbroad and arbitrary application of this aggravating circumstance,” and that
“[d]espite the fact that the trial court’s instruction did not include the phrase ‘compared to other
capital offenses,’ the instruction, when reviewed in its entirety, adequately narrowed this
circumstance.” Id.

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      On April 8, 2005, Broadnax filed a motion for leave to amend his
      petition, a motion for funds for a psychological evaluation and a
      sociological report, and a motion for discovery. On April 15, 2005, the
      State filed oppositions to all of Broadnax’s motions, and the circuit court
      held a hearing on the motions the same day, after which it denied the
      motions. The circuit court held an evidentiary hearing on the remaining
      claims in Broadnax’s first amended petition on May 23, 2005. On June
      14, 2005, the circuit court issued an order denying the remaining claims
      in the first amended petition, and Broadnax appealed.

      On appeal, [the ACCA] reversed the circuit court’s judgment and
      remanded the case for further proceedings on the ground that the circuit
      court had erred in denying Broadnax’s April 8, 2005, motion to amend
      his petition. Broadnax v. State, 987 So. 2d 631 (Ala. Crim. App. 2007).
      The Alabama Supreme Court denied the State’s petition for certiorari
      review, and [the ACCA] issued a certificate of judgment on December
      21, 2007.

Broadnax, 130 So. 3d at 1239-40.

      Broadnax filed a second amended Rule 32 petition in May 2008. After an

evidentiary hearing in 2011, the circuit court denied the petition, see generally doc.

12, Vol. 32, Tab 76, at 54-87, and Broadnax appealed. The ACCA affirmed,

Broadnax, 130 So. 3d at 1268, and the Alabama Supreme Court denied certiorari

review, see id. at 1232. Broadnax timely filed the instant § 2254 habeas petition.

Doc. 1.




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                          II. STANDARD OF REVIEW

      As to any claim “adjudicated on the merits in State court proceedings,” this

court may not grant the § 2254 habeas petition –

             “. . . unless the adjudication of the claim –

             “(1) resulted in a decision that was contrary to, or involved an
             unreasonable application of, clearly established Federal law, as
             determined by the Supreme Court of the United States; or

             “(2) resulted in a decision that was based on an unreasonable
             determination of the facts in light of the evidence presented in the
             State court proceeding.” [42 U.S.C. § 2254(d).]

             In applying this “highly deferential standard for evaluating
      state-court rulings, . . . state-court decisions [must] be given the benefit
      of the doubt.” [Cullen v.] Pinholster, 563 U.S. [170, 181], 131 S. Ct.
      [1388], at 1398 [(2011)](internal quotation marks omitted). They must
      be reviewed solely on “the record that was before the state court that
      adjudicated the claim on the merits.” Id., at [181] . . . . And the prisoner
      must rebut any state court factual findings he seeks to challenge by clear
      and convincing evidence under § 2254(e)(1). Burt v. Titlow, 571 U.S.
      [12, 18], 134 S. Ct. 10, 15, 187 L. Ed. 2d 348 (2013).

Brumfield v. Cain, 135 S. Ct. 2269, 2288-89 (2015). The “backward-looking

language” of § 2254(d) “requires an examination of the state-court decision at the

time it was made. It follows that the record under review is limited to the record in

existence at that same time i.e., the record before the state court.” Cullen, 563 U.S.

at 182. Also, “[s]tate court decisions are measured against [the Supreme] Court’s

precedents as of ‘the time the state court renders its decision.’” Id. (quoting Lockyer

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v. Andrade, 588 U.S. 63, 71-72 (2003)). “Deciding whether a state court’s decision

involved an unreasonable application of federal law[, § 2254(d)(1),] or was based on

an unreasonable determination of fact[, § 2254(d)(2),] requires the federal habeas

court to train its attention on the particular reasons – both legal and factual – why

state courts rejected a state prisoner’s federal claims, and to give appropriate

deference to that decision.”      Wilson v. Sellers, 138 S. Ct. 1188, 1191-92

(2018)(internal quotations and citations omitted).

      Section 2254(d) “preserves [this court’s] authority to issue the writ in cases

where there is no possibility fairminded jurists could disagree that the state court’s

decision conflicts with [the] Court’s precedents. It goes no further.” Harrington v.

Richter, 562 U.S. 86, 102 (2011)(emphasis in original). “As a condition for obtaining

habeas corpus from [this] court, [Broadnax] must show that the state court’s ruling

on [his] claim . . . was so lacking in justification that there was an error well

understood and comprehended in existing law beyond any possibility for fairminded

disagreement.” Id. at 103. “[T]he ruling must be objectively unreasonable, not

merely wrong; even clear error will not suffice.” Virginia v. LeBlanc, 137 S. Ct.

1726, 1728 (2017)(quoting Woods v. Donald, 135 S. Ct. 1372, 1376 (2015)(per

curiam))(internal quotations omitted). In other words, “if some fairminded jurists

could agree with the state court’s decision, although others might disagree, federal

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habeas relief must be denied.” Loggins v. Thomas, 654 F.3d 1204, 1220 (11th Cir.

2011)(emphasis in original). Nevertheless, “‘[e]ven in the context of federal habeas,

deference does not imply abandonment or abdication of judicial review,’ and ‘does

not by definition preclude relief.’” Brumfield, 135 S. Ct. at 2277 (quoting Miller–El

v. Cockrell, 537 U.S. 322, 340 (2003)).

      “When the evidence leads very clearly to the conclusion that a federal claim

was inadvertently overlooked in state court, § 2254(d) entitles the prisoner to an

unencumbered opportunity to make his case before a federal judge.” Johnson v.

Williams, 568 U.S. 289, 303 (2013). However,

      When a federal claim has been presented to a state court and the state
      court has denied relief, it may be presumed that the state court
      adjudicated the claim on the merits in the absence of any indication or
      state-law procedural principles to the contrary. That presumption stands
      unless rebutted by evidence from the state court’s decision and the
      record that leads very clearly to the conclusion that the federal claim was
      inadvertently overlooked in state court.

Pittman v. Sec’y, Fla. Dep’t of Corr., 871 F.3d 1231, 1245 (11th Cir. 2017)(internal

citations and quotations omitted).

      The court need not determine in every instance whether AEDPA deference

applies:

      Courts cannot grant writs of habeas corpus under § 2254 by engaging
      only in de novo review when it is unclear whether AEDPA deference
      applies, § 2254(d). In those situations, courts must resolve whether

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      AEDPA deference applies, because if it does, a habeas petitioner may
      not be entitled to a writ of habeas corpus under § 2254(d). Courts can,
      however, deny writs of habeas corpus under § 2254 by engaging in de
      novo review when it is unclear whether AEDPA deference applies,
      because a habeas petitioner will not be entitled to a writ of habeas
      corpus if his or her claim is rejected on de novo review, see § 2254(a).

Berghuis v. Thompkins, 560 U.S. 370, 390 (2010).

                III. DISCUSSION OF BROADNAX’S CLAIMS

      Broadnax raises claims related to ineffective assistance of counsel (section A

below), alleged improper instructions to the jury (sections B and C), alleged errors

in the sentencing order (Section D), and alleged prosecutorial misconduct (Section

E). The court addresses these claims below.

A. INEFFECTIVE ASSISTANCE OF COUNSEL

      1. Standard of Review

      The “benchmark” for judging any claim that trial counsel provided ineffective

assistance is “whether counsel’s conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied upon as having produced a just

result.” Strickland v. Washington, 466 U.S. 668, 686 (1984). Strickland established

a two-pronged standard for judging, under the Sixth Amendment, the effectiveness

of an attorney’s representation at trial:

      A convicted defendant’s claim that counsel’s assistance was so defective
      as to require reversal of a conviction or death sentence has two

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       components. First, the defendant must show that counsel’s performance
       was deficient. This requires showing that counsel made errors so
       serious that counsel was not functioning as the “counsel” guaranteed the
       defendant by the Sixth Amendment. Second, the defendant must show
       that the deficient performance prejudiced the defense. This requires
       showing that counsel’s errors were so serious as to deprive the
       defendant of a fair trial, a trial whose result is reliable. Unless a
       defendant makes both showings, it cannot be said that the conviction or
       death sentence resulted from a breakdown in the adversary process that
       renders the result unreliable.

Id. at 687.4 The two parts are conjunctive, and a petitioner bears the burden of

proving both “deficient performance” and “prejudice” by “a preponderance of

competent evidence.” Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir.

2000)(en banc). “Unless he establishes both requirements, ‘it cannot be said that the

conviction or death sentence resulted from a breakdown in the adversary process that

renders the result unreliable.’” Wilson v. Warden, Georgia Diagnostic Prison, 898

F.3d 1314, 1322 (11th Cir. 2018)(quoting Strickland, 466 U.S. at 687). However, this

court need not address both components;            “[i]f it is easier to dispose of an

ineffectiveness claim on the ground of lack of sufficient prejudice, . . . that course

should be followed.” Id. (quoting Strickland, 466 U.S. at 697). Stated another way,

“[b]ecause both parts of the test must be satisfied in order to show a violation of the

Sixth Amendment, the court need not address the performance prong if the defendant


       4
        See also Williams v. Taylor, 529 U.S. 362, 390 (2000); Grayson v. Thompson, 257 F.3d
1194, 1215 (11th Cir. 2001).

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cannot meet the prejudice prong, or vice versa.” Holladay v. Haley, 209 F.3d 1243,

1248 (11th Cir. 2000).

                a. The Performance Prong

       “The burden of persuasion is on the petitioner to prove by a preponderance of

the evidence that counsel’s performance was unreasonable.” Stewart v. Secretary,

Department of Corrections, 476 F.3d 1193, 1209 (11th Cir. 2007)(citing Chandler,

218 F.3d at 1313). To satisfy the performance prong, a petitioner must prove that

counsel made errors so serious that he or she was not functioning as the counsel

guaranteed by the Sixth Amendment. Strickland, 466 U.S. at 687. The standard for

gauging attorney performance is “reasonableness under prevailing professional

norms.” Id. at 688.5 “The test of reasonableness is not whether counsel could have

done something more or different,” but whether counsel’s performance “fell within

the broad range of reasonable assistance at trial.” Stewart, 476 F.3d at 1209 (citing

Chandler, 218 F.3d at 1313).           “Furthermore, [the court] must recognize that

omissions are inevitable. But, the issue is not what is possible or what is prudent or

appropriate, but only what is constitutionally compelled.” Id. (quoting Burger v.

Kemp, 483 U.S. 776, 794 (1987))(internal quotations omitted).                      The Sixth



       5
        See also Williams v. Taylor, 529 U.S. at 390-91; Darden v. Wainwright, 477 U.S. 168, 184
(1986); Chandler, 218 F.3d at 1313.

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Amendment does not guarantee a defendant the very best counsel or the most skilled

attorney, but only counsel that performs within reasonable professional norms. “The

test has nothing to do with what the best lawyers would have done. Nor is the test

even what most good lawyers would have done. [The court] ask[s] only whether

some reasonable lawyer at the trial could have acted, in the circumstances, as defense

counsel acted at trial.” White v. Singletary, 972 F.2d 1218, 1220 (11th Cir. 1992).

       The reasonableness of counsel’s performance is judged from the perspective

of the attorney at the time of the alleged error and in light of all the circumstances.6

And, “[u]nder this standard, there are no ‘absolute rules’ dictating what reasonable

performance is or what line of defense must be asserted. . . . Indeed, . . . [a]bsolute

rules would interfere with counsel’s independence — which is also constitutionally

protected — and would restrict the wide latitude counsel have in making tactical

decisions.” Michael v. Crosby, 430 F.3d 1310, 1320 (11th Cir. 2005)(citations and

quotations omitted). Put simply, “[j]udicial scrutiny of counsel’s performance must

be highly deferential,” Strickland, 466 U.S. at 689, and courts must recognize that

“trial advocacy is not a science, but an art; there are few ‘right’ answers in the proper



       6
         See, e.g., Johnson v. Alabama, 256 F.3d 1156, 1176 (11th Cir. 2001)(giving lawyers “the
benefit of the doubt for ‘heat of the battle’ tactical decisions”); Mills v. Singletary, 161 F.3d 1273,
1285-86 (11th Cir. 1998)(noting that Strickland performance review is a “deferential review of all
of the circumstances from the perspective of counsel at the time of the alleged errors”).

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way to handle a trial,” Harvey v. Warden, Union Corr. Inst., 629 F.3d 1228, 1238

(11th Cir. 2011)(quoting Strickland, 466 U.S. at 693 (“Representation is an art, and

an act or omission that is unprofessional in one case may be sound or even brilliant

in another.”)). Therefore, this court “must indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.”

Strickland, 466 U.S. at 689. After all,

      It is all too tempting for a defendant to second-guess counsel’s
      assistance after conviction or adverse sentence, and it is all too easy for
      a court, examining counsel’s defense after it has proved unsuccessful,
      to conclude that a particular act or omission of counsel was
      unreasonable. A fair assessment of attorney performance requires that
      every effort be made to eliminate the distorting effects of hindsight, to
      reconstruct the circumstances of counsel’s challenged conduct, and to
      evaluate the conduct from counsel’s perspective at the time. Because of
      the difficulties inherent in making the evaluation, a court must indulge
      a strong presumption that counsel’s conduct falls within the wide range
      of reasonable professional assistance; that is, the defendant must
      overcome the presumption that, under the circumstances, the challenged
      action might be considered sound trial strategy. There are countless
      ways to provide effective assistance in any given case. Even the best
      criminal defense attorneys would not defend a particular client in the
      same way.

Id. (citations and internal quotation marks omitted).

      “Based on this strong presumption of competent assistance, the petitioner’s

burden of persuasion is a heavy one: ‘petitioner must establish that no competent

counsel would have taken the action that his counsel did take.’” Stewart, 476 F.3d



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at 1209 (quoting Chandler, 218 F.3d at 1315). “Even if many reasonable lawyers

would not have done as defense counsel did at trial, no relief can be granted on

ineffectiveness grounds unless it is shown that no reasonable lawyer, in the

circumstances, would have done so.” Rogers, 13 F.3d at 386 (emphasis added).

             b. The Prejudice Prong

      “A petitioner’s burden of establishing that his lawyer’s deficient performance

prejudiced his case is also high.” Van Poyck v. Florida Department of Corrections,

290 F.3d 1318, 1322 (11th Cir. 2002). “It is not enough for the [habeas petitioner]

to show that the errors had some conceivable effect on the outcome of the

proceeding.” Strickland, 466 U.S. at 693; see also Harrington, 562 U.S. at 112 (“The

likelihood of a different result must be substantial, not just conceivable.”). Instead,

the habeas petitioner “must show that there is a reasonable probability that, but for

counsel’s unprofessional errors, the results of the proceeding would have been

different.   A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. In the context of the death

sentence itself, “the question is whether there is a reasonable probability that, absent

the errors, the sentencer . . . would have concluded that the balance of aggravating

and mitigating circumstances did not warrant death.” Stewart, 476 F.3d at 1209

(quoting Strickland, 466 U.S. at 695).

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      To satisfy this high standard, a petitioner must present competent evidence

proving “that trial counsel’s deficient performance deprived him of ‘a trial whose

result is reliable.’” Brown v. Jones, 255 F.3d 1272, 1278 (11th Cir. 2001)(quoting

Strickland, 466 U.S. at 687). In other words, “[a] finding of prejudice requires proof

of unprofessional errors so egregious that the trial was rendered unfair and the verdict

rendered suspect.” Johnson v. Alabama, 256 F.3d 1156, 1177 (11th Cir. 2001)

(quotations and citations omitted).

             c. Deference Accorded State Court’s Decisions

      Deference to a state court resolution of a claim of ineffective assistance

involves a double layer of reasonableness. Under the AEDPA, the federal habeas

court may grant relief on such a claim only if the state court determination involved

an “unreasonable application” of Strickland to the facts of the case. Strickland, of

course, requires an assessment of whether counsel’s conduct was professionally

unreasonable or did not result in actual prejudice. These two assessments cannot be

conflated into one. See Harrington, 562 U.S. at 101-02. Thus, habeas relief on a

claim of ineffective assistance of counsel can be granted with respect to a claim

decided on the merits by the state court only if the habeas court determines that it was

“objectively unreasonable” for the state court to find that counsel’s conduct was not




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“professionally unreasonable” or did not result in actual prejudice. The Harrington

Court explained,

      “Surmounting Strickland’s high bar is never an easy task.” Padilla v.
      Kentucky, 559 U.S. [356], [371], 130 S. Ct. 1473, 1485, 176 L. Ed. 2d
      284 (2010). An ineffective-assistance claim can function as a way to
      escape rules of waiver and forfeiture and raise issues not presented at
      trial, and so the Strickland standard must be applied with scrupulous
      care, lest “intrusive post-trial inquiry” threaten the integrity of the very
      adversary process the right to counsel is meant to serve. Strickland, 466
      U.S., at 689-690, 104 S. Ct. 2052. Even under de novo review, the
      standard for judging counsel’s representation is a most deferential one.
      Unlike a later reviewing court, the attorney observed the relevant
      proceedings, knew of materials outside the record, and interacted with
      the client, with opposing counsel, and with the judge. It is “all too
      tempting” to “second-guess counsel’s assistance after conviction or
      adverse sentence.” Id., at 689, 104 S. Ct. 2052; see also Bell v. Cone,
      535 U.S. 685, 702, 122 S. Ct. 1843, 152 L. Ed. 2d 914 (2002); Lockhart
      v. Fretwell, 506 U.S. 364, 372, 113 S. Ct. 838, 122 L. Ed. 2d 180
      (1993). The question is whether an attorney’s representation amounted
      to incompetence under “prevailing professional norms,” not whether it
      deviated from best practices or most common custom. Strickland, 466
      U.S., at 690, 104 S. Ct. 2052.

      Establishing that a state court’s application of Strickland was
      unreasonable under § 2254(d) is all the more difficult. The standards
      created by Strickland and § 2254(d) are both “highly deferential,” id., at
      689, 104 S. Ct. 2052; Lindh v. Murphy, 521 U.S. 320, 333, n. 7, 117 S.
      Ct. 2059, 138 L. Ed. 2d 481 (1997), and when the two apply in tandem,
      review is “doubly” so, Knowles [v. Mirzayance], 556 U.S.[111, 123],
      129 S. Ct. [1411], 1420 [(2009)]. The Strickland standard is a general
      one, so the range of reasonable applications is substantial. 556 U.S., at
      [123], 129 S. Ct. at 1420. Federal habeas courts must guard against the
      danger of equating unreasonableness under Strickland with
      unreasonableness under § 2254(d). When § 2254(d) applies, the
      question is not whether counsel’s actions were reasonable. The question

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      is whether there is any reasonable argument that counsel satisfied
      Strickland’s deferential standard.

Harrington, 562 U.S. at 105. See also Premo v. Moore, 562 U.S. 115, 123 (2011).

      When the state court has adjudicated a petitioner’s ineffectiveness claims on

the merits, the findings of historical facts made in the course of evaluating that claim

are subject to a presumption of correctness under 28 U.S.C. § 2254(d)(2) and (e)(1).

See Thompson v. Haley, 255 F.3d 1292, 1297 (11th Cir. 2001). To overcome the state

court’s finding of fact, the petitioner must show that those findings were unreasonable

in light of the evidence before it and carry his burden of proving the facts by clear and

convincing evidence.

      With these principles in mind, the court turns to Broadnax’s claims based on

alleged ineffective assistance of counsel.

      2. Alleged Failure to Investigate Broadnax’s Alibi (Claim A)

      Broadnax alleges that his trial counsel failed to properly search for alibi

evidence because, if they had, they would have discovered that he was at the work

release center [WRC] in Alexander City, Alabama, at the time the State claimed he

was returning from Birmingham. See doc. 1 at 40-59. Consistent with his claim

before this court, Broadnax argued to the ACCA that trial counsel “were ineffective

for not adequately investigating and presenting at the guilt phase of the trial an alibi



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defense that he was at the [WRC] at 9:00 p.m. on the night of the murders” – “a time

which would have made it impossible for him to have committed the murders and

dumped the bodies in Birmingham, a one and one-half hour drive from Alexander

City, between 8:20 p.m. and 8:55 p.m., as the State’s evidence at trial indicated.”

Broadnax, 130 So. 3d at 1249 (internal quotations omitted). The ACCA rejected this

claim, noting that:

      This claim is based on an alibi defense that directly contradicts the alibi
      defense presented at Broadnax’s trial. In his statements to police, in his
      statements to his trial attorneys . . ., and at trial, Broadnax claimed that
      he was at Welborn, not at the [WRC], until about 10:45 p.m. the night
      of the murders. Indeed, from all that appears, Broadnax continued
      claiming to have been at Welborn that night for many years after his
      convictions and sentence. Even in both his original petition, filed in
      2003, and his first amended petition, filed in 2004, Broadnax continued
      in his assertion that he was at Welborn the night of the murders. It was
      not until 2008, 12 years after the crime, and after this Court had reversed
      the judgment denying his first amended petition and Broadnax had
      obtained new Rule 32 counsel to represent him, that Broadnax suddenly
      changed his story regarding his whereabouts the night of the murders
      and asserted that he was not at Welborn, as he had alleged for 12 years,
      but was at the [WRC] at 9:00 p.m. the night of the murders. Although
      we review this claim under the same principles of law as any other
      ineffective-assistance-of-counsel claim, we do so with caution, keeping
      in mind that it is based entirely on a newfound defense.

Id.

      Broadnax contends that his “lack of clarity about facts relevant to establishing

his alibi is unsurprising because we know now, based on Dr. Ken Benedict’s expert



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mental health evaluation, that he is cognitively impaired.” Doc. 1 at 48 n.127. He

argues, “Dr. Benedict concluded, based on testing, that Mr. Broadnax has either

learning disabilities or acquired traumatic brain damage (possibly both), which he

characterized as ‘serious neuropsychological deficits.’” Id. But, Dr. Benedict’s

diagnoses and opinion do not explain why Broadnax would provide inconsistent

statements that he was at Welborn until 10:45p.m. on the night of the murders when

he purportedly was actually at the WRC at 9:00 p.m. In addition to evidence at trial

showing that Broadnax told Det. Cunningham and his counsel that he was at Welborn

at 9:00 p.m. on the night of the murders, see Broadnax, 130 So. 3d at 1253, 1257,

Mark Chastain testified he saw Broadnax at Welborn between 10:30 and 10:45 p.m.,

see Broadnax, 825 So. 2d at 150, and Kathy Chastain testified that she saw someone

matching Broadnax’s description during the same time period, id. In other words, the

weight of the evidence belies Broadnax’s new contentions about his whereabouts.

More importantly, Dr. Benedict diagnosed Broadnax with “a cognitive disorder, not

otherwise specified, a receptive-expressive language disorder, a reading disorder, and

a disorder of written expression;” he also testified that Broadnax “met only part of the

criteria for a learning disorder and a cognitive disorder.” Broadnax, 130 So. 3d at

1267 (internal quotations and citations omitted). Critically, Dr. Benedict never stated




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that Broadnax cannot accurately remember actual events,7 nor did he testify or offer

any evidence that, because of his mental condition, Broadnax could not give an

accurate account of his whereabouts on the night of the murders.

       Relevant to the court’s inquiry, although Broadnax presented evidence at the

2011 Rule 32 hearing that he was at the WRC by 9:00 p.m. on the night of murders,

he did not present any evidence that his trial attorneys had this information or that

they had any reason to suspect that he was at the WRC, rather than at Welborn as he

had told them and as witnesses at trial had confirmed. In rejecting Broadnax’s

contention, the ACCA held that Broadnax is essentially attacking his lawyers for

information he never provided them, and that consequently counsel did not perform

deficiently.8 And, the court also rejected the claim because Broadnax never


       7
        Dr. Benedict did opine that Broadnax had “language processing problems in the form of
receptive and expressive language dysfunction . . . , which also has a deleterious impact on auditory
working memory,” but that Broadnax’s “scores on the Visual Memory Test are well within the
average range, if not above average.” Doc. 12, Vol. 36 at 948, 949.
       8
        In finding that trial counsel’s failure to investigate was not deficient performance under
Strickland, the ACCA stated in pertinent part:

       Broadnax now argues, essentially, that his trial counsel should have investigated and
       presented evidence to the jury that Broadnax had lied to the police [another] time –
       when he had said that he was at Welborn until 10:45 p.m. the night of the murders.
       “[W]hen the facts that support a certain potential line of defense are generally known
       to counsel because of what the defendant has said, the need for further investigation
       may be considerably diminished or eliminated altogether.” Strickland, 466 U.S. at
       691, 104 S. Ct. 2052. An attorney’s decision regarding investigation depends
       “critically” on information received from his or her client. Id. at 691, 104 S. Ct.
       2052. In this case, neither [of Broadnax’s attorneys] had any reason whatsoever to

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questioned his lawyers about their reasons for not investigating this purported alibi.9

Broadnax, 130 So. 3d at 1256 and n.21.




      think that an investigation into the possibility that Broadnax was somewhere other
      than Welborn at 9:00 p.m. the night of the murders was necessary. Broadnax told the
      police, and both Brower and Bender, that he was at Welborn at 9:00 p.m. the night
      of the murders, not at the [WRC]. “Trial counsel’s performance cannot be deemed
      ineffective for failing to locate alibi witnesses whose existence was not brought to
      his attention.” Adkins v. State, 280 Ga. 761, 762, 632 S.E.2d 650, 653 (2006). See
      also Davis v. State, 9 So. 3d 539 (Ala. Crim. App. 2008).

      More importantly, even if counsel had some basis for possibly thinking that
      Broadnax had lied to them and to the police and may have, in fact, been at the
      [WRC] at 9:00 p.m., given that it was clear that Broadnax had lied to the police
      regarding other things, we cannot say that any decision to forgo attempting to further
      impugn their client’s credibility by presenting additional evidence of Broadnax’s
      lying to the police was unreasonable. See, e.g., Traylor v. State, 466 So. 2d 185, 189
      (Ala. Crim. App. 1985)(Rule 32 petitioner’s claim that counsel was ineffective for
      not calling to testify a witness who could have provided an alibi was meritless where
      alibi witness’s testimony would have contradicted petitioner’s own testimony at
      trial). Therefore, the circuit court correctly found that Broadnax failed to prove that
      his counsel’s performance in this regard was deficient.

Broadnax, 130 So. 3d at 1256-58 (ACCA footnote omitted).
      9
       The court stated:
      In this case, neither [of Broadnax’s attorneys] was ever questioned about whether he
      had investigated the possibility of an alibi defense based on Broadnax’s being at the
      [WRC] at 9:00 p.m. the night of the murders, much less about why he did not pursue
      that defense, as opposed to the alibi defense that counsel did pursue, i.e., that
      Broadnax was at Welborn at 9:00 p.m. the night of the murders. Because the record
      is ambiguous as to the basis of [Broadnax’s attorneys’] decision in this regard, we
      must presume that they exercised reasonable professional judgment. See Whitson v.
      State, 109 So. 3d 665 (Ala. Crim. App. 2012)(Rule 32 petitioner failed to prove that
      appellate counsel was ineffective where, although petitioner called appellate counsel
      to testify at hearing, petitioner did not question appellate counsel about the
      ineffective-assistance claims raised in the petition). Thus, the circuit court correctly
      found that Broadnax, by failing to question his attorneys about this specific claim,
      failed to overcome the presumption that counsel acted reasonably.

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      To succeed on his claim, Broadnax must show that no reasonable lawyer, in

light of information “already in hand” at the time of trial, see Strickland, 466 U.S. at

699, would have neglected to investigate whether Broadnax was at the WRC on the

night of the murders. See Wiggins v. Smith, 539 U.S. 510, 527 (2003)(“In assessing

the reasonableness of an attorney’s investigation, however, a court must consider not

only the quantum of evidence already known to counsel, but also whether the known

evidence would lead a reasonable attorney to investigate further.”). Broadnax has

failed to make this showing. In particular, Broadnax has not shown that counsel knew

or had reason to suspect that Broadnax was at the WRC at the time of the murders.

      “[T]he duty to investigate does not force defense lawyers to scour the globe on

the off chance something will turn up; reasonably diligent counsel may draw a line

when they have good reason to think further investigation would be a waste.”

Rompilla v. Beard, 545 U.S. 374, 383 (2005). Therefore, “[i]n assessing the

reasonableness of an attorney’s investigation, . . . a court must consider not only the

quantum of evidence already known to counsel, but also whether the known evidence

would lead a reasonable attorney to investigate further.” Wiggins v. Smith, 539 U.S.

at 527. This “known evidence” includes defendant’s statements and actions, and,

indeed, “[t]he reasonableness of counsel’s actions may be determined or substantially




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influenced by the defendant’s own statements or actions.” Strickland, 466 U.S. at

691. As Strickland notes:

      Counsel’s actions are usually based, quite properly, on informed
      strategic choices made by the defendant and on information supplied by
      the defendant. In particular, what investigation decisions are reasonable
      depends critically on such information. For example, when the facts that
      support a certain potential line of defense are generally known to
      counsel because of what the defendant has said, the need for further
      investigation may be considerably diminished or eliminated altogether.
      And when a defendant has given counsel reason to believe that pursuing
      certain investigations would be fruitless or even harmful, counsel’s
      failure to pursue those investigations may not later be challenged as
      unreasonable. In short, inquiry into counsel’s conversations with the
      defendant may be critical to a proper assessment of counsel’s
      investigation decisions, just as it may be critical to a proper assessment
      of counsel’s other litigation decisions.

Id.

      Here, Broadnax relies on new evidence that was not available to his lawyers

– i.e. that he was at the WRC on the night of the murders. But this new evidence

“merely conflates the existence of a contrary picture of [his whereabouts on the night

of the murders] developed ex post on collateral review with [trial counsel’s]

therefore-inadequate ex ante actions.” Tharpe v. Warden, 834 F.3d 1323, 1342 (11th

Cir. 2016). In other words, the fact that Broadnax, years after his trial, was able to

present evidence that he was at the WRC at 9:00 p.m. on the night of the murders, and

not at Welborn as he had maintained consistently until his second amended Rule 32



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petition, does not answer the question of what trial counsel knew, or should have

known, at the time of the trial that made their decision not to investigate further his

whereabouts unreasonable.

      A review of the record shows that Broadnax told trial counsel, as well as Det.

Cunningham, that he was at Welborn on the night of the murders – when his

murdered wife brought him dinner, when she left at 8:20 p.m., and when he called his

brother at 9:00 p.m. Broadnax, 130 So. 3d at 1257. Moreover, Johnny Baker

testified he saw Broadnax driving away from Welborn, Kathy Chastain testified she

saw an individual matching Broadnax’s description run into Welborn at 10:30 p.m.,

and Mark Chastain testified that he found Broadnax inside Welborn at 10:45 p.m.

And, Broadnax has not cited any record evidence that would overcome the ACCA’s

finding that he told counsel and Det. Cunningham that he was at Wellborn at 8:20

p.m. and 9:00 p.m. on the night of the murders. Nor has the court found anything in

the record to support a finding that trial counsel knew, or had any reason to suspect,

that Broadnax was instead at WRC at 9:00 p.m. or that further investigation would

have likely led to evidence supporting a valid alibi. And, as noted by the ACCA,

Broadnax did not question his trial counsel about their investigation of his alibi after

he asserted, in his second amended Rule 32 petition, that he was at the WRC at 9:00




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p.m. on the night of the murders. In short, there is nothing in the record to show that

trial counsel had notice of the alleged alibi or had reason to suspect its existence.

    Based on this record, “trial counsel cannot reasonably be faulted for failing to

discover information which was within [Broadnax’s] personal knowledge . . . but

which [he] failed to disclose to his trial counsel.”           Dallas v. Dunn, No.

2:02-CV-777-WKW, 2017 WL 3015690, at *65 (M.D. Ala. July 14, 2017).

Moreover, counsel’s performance was not deficient because they failed to investigate

Broadnax’s whereabouts at 9:00 p.m. on the night of the murders on the “off-chance”

they would find that he was in fact not at Welborn as he had represented to counsel.

Indeed, prior to the second amended Rule 32 petition, the record contains nothing that

suggests or hints that Broadnax returned to the WRC at 9:00 p.m. Accordingly,

Broadnax has not proven that the ACCA’s decision regarding counsel’s investigation

of his alibi defense was based on an unreasonable determination of the facts in light

of the evidence presented or was contrary to or an unreasonable application of

Strickland. This court finds that most, if not all, fairminded jurists would agree with

the ACCA’s decision, and therefore does not reach the court’s decision that Broadnax

was not prejudiced by his trial counsel’s deficient investigation of his alibi, and

whether this was an unreasonable application of clearly established federal law or an

unreasonable factual determination. See Holladay, 209 F.3d at 1248.

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      3. Alleged Failure to Obtain a Psychological Evaluation for Use During
      the Penalty Phase (Claim B)

      Broadnax alleges also that the ACCA’s decision, that trial counsel were not

ineffective for “failing to obtain a psychological evaluation of him to use at the

mitigation phase of his trial,” is an unreasonable application of Strickland and an

unreasonable determination of the facts. Doc. 1 at 59-60. He argues, “[t]he

[ACCA’s] conclusion that mental health evidence would not have altered the balance

of aggravating and mitigating evidence is legally unsupportable because it implies

that no amount of mitigation would have led a jury to spare Mr. Broadnax’s life,” and

“[f]undamental to the Supreme Court’s death penalty jurisprudence is the notion that

there is no defendant and no crime for which a death sentence can be automatic.” Id.

at 68 (citing Woodson v. North Carolina, 428 U.S. 280, 303 (1976))(footnote

omitted).

      The ACCA denied this claim, agreeing with the trial court that counsel’s

performance was not deficient. See Broadnax, 130 So. 2d at 1266-68. It also found

that, even considering the results of post-conviction psychological testing, counsel’s

failure to have Broadnax evaluated did not result in prejudice because the aggravating

circumstances clearly outweighed any and all mitigating circumstances offered at trial

and in the Rule 32 proceedings. Id. at 1267. As explained below, the state court’s



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decision, which is based on a reasonable interpretation of the facts, is neither contrary

to nor an unreasonable application of Supreme Court precedent.

             a. The Performance Prong

      To support his claim that trial counsel performed deficiently, Broadnax

contends that counsel made the decision to forego a psychological evaluation without

conducting a reasonable investigation into his background. Allegedly, counsels’

“decision to forego a psychological defense . . . cannot be justified by counsels’

personal observations of Mr. Broadnax,” based on the post-conviction findings of Dr.

Benedict. Doc. 1 at 62-63. He argues:

      The [ACCA] found that counsel were reasonable in failing to get a
      mental health examination because “counsel indicated that Broadnax
      was intelligent, well-spoken, and very cooperative.” In fact, one of his
      attorneys described him as a “bright guy.” These observations from
      untrained lay persons are ludicrous in light of the facts adduced by a
      thorough evaluation from a trained psychologist. Neither of these
      conclusions is reasonable based on the evidence that was before the state
      court.

Id. at 60 (footnotes omitted). As Broadnax puts it, a reasonable investigation into his

background would have found that he was abused as a child, sexually assaulted by

a neighbor, suffered brain damage from a closed-head injury, and had attempted

suicide – facts which would have signaled the need for a psychological evaluation.

See id. at 60-61; doc. 19 at 29-30.



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     In determining that trial counsel’s performance was not deficient, the ACCA

found:

     [A]t the 2005 [Rule 32] hearing, both Brower and Bender testified.
     With respect to mitigation, Brower said that he spoke with Broadnax as
     well as several members of Broadnax’s family, although he could not
     remember exactly whom he had spoken to, and that he had also
     personally “met with a number of family members” regarding
     mitigation. ([Doc. 12, Vol. 26 at] R. 111.) According to Brower,
     Broadnax provided no names of people who could possibly offer
     mitigation evidence, other than family members, and he received more
     information regarding Broadnax’s history from Broadnax’s eldest sister,
     Dorothy McKinstry, than from Broadnax himself. Brower stated that
     there was “not a lot of mitigation evidence present.” ([Id. at] R. 142.)

     Brower testified that he did not seek a psychological evaluation of
     Broadnax because he did not believe, based on his interactions with
     Broadnax, that such an evaluation was necessary. Specifically, Brower
     said that “Mr. Broadnax did not strike me as being someone who needed
     a psychological evaluation at the time. And it’s always been my practice
     not to file motions such as a psychological evaluation unless I can
     support them with some articulable reason.” ([Id. at] R. 109.) Brower
     said that he had no reason to believe that a psychological evaluation
     would have been helpful, especially given that he truly believed that
     Broadnax was innocent. Brower also said that, even after the jury
     returned a guilty verdict after the guilt phase of the trial (which, he said,
     was a shock to him) he “still didn’t think that a psychological evaluation
     of Mr. Broadnax was warranted.” ([Id. at] R. 113.)

     Bender testified that he did “quite a bit” of mitigation investigation, but
     could find little mitigating evidence. ([Id., Vol. 25 at] R. 38.) As a
     result, only Broadnax’s sister, Dorothy [McKinstry], was called to
     testify as a mitigation witness. Bender stated that he prepared Dorothy
     for her testimony and that he and Brower “discussed her testimony with
     her before she went on the . . . stand in the mitigation phase.” ([Id., Vol.
     26 at] R. 135.)

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       Bender said that he went to Welborn and personally spoke “to those
       individuals down there,” but that all he discovered was that Broadnax
       was “just the average guy working in their facility” and that there was
       “nothing different or special about him.” ([Id. at] R. 67.) Bender also
       testified that he spoke with Broadnax’s family members, including
       Broadnax’s two sisters, brother-in-law, and mother, “quite often” about
       mitigation. ([Id., Vol. 25 at] R. 39.) Bender also personally went to
       Elyton Village, where Broadnax had grown up, and spoke with as many
       people as he could as part of the mitigation investigation, but the people
       there simply “couldn’t remember” [Broadnax] because [he] had been in
       prison, and away from Elyton Village, for almost 20 years. ([Id. at] R.
       40.) Indeed, Bender said that the only person he found who actually
       remembered Broadnax from Elyton Village was Vince Cunningham, the
       Birmingham police detective who investigated the murders of Jan and
       DeAngelo and who testified for the State at Broadnax’s trial.

       Bender also testified that he explained to Broadnax the purpose of
       mitigation, explained the type of evidence that could be presented as
       mitigation, and gave Broadnax “ideas about what I was looking for as
       far as mitigation.” ([Id. at] R. 33.) Indeed, he said “that’s what most of
       those visits were about.” ([Id., Vol. 26 at] R. 91.) Bender said that
       Broadnax clearly understood the concept of mitigation because “[h]e’s
       a bright guy,” but was unable to provide Bender with any possible
       mitigating evidence. ([Id.]) In fact, Bender said that even though
       Broadnax’s “parents [sic] and family told me that he was abused as a
       child,” Broadnax denied any such abuse, claiming that he had gotten
       into trouble a lot and “was just sort of a tough kid,” so the family “had
       to sort of be tough on him.”10 ([Id. at] R. 92.) In addition, according to
       Bender, Broadnax’s family said that when he was growing up Broadax
       was “normal for the area” and that only after his father died did
       Broadnax “sort of g[et] out of control” by getting involved in criminal
       activity and eventually committing murder and going to prison. ([Id.,
       Vol. 25 at] R. 36.) Bender said that he spoke with both Broadnax and his
       family members about this time in Broadnax’s life, before he went to


       10
          Despite being present at the hearing, Broadnax did not testify that he was abused or deny
that he had told Bender he was not abused.

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prison, and even specifically asked Broadnax’s mother about any “health
issues that he may have had[,]” ([Id., Vol. 26 at] R. 50)[,] but that
neither “[h]e nor his family members ever told me anything about any
kind of medical history that he’s had, any issues with drugs. They never
told me about him being hit by a car . . . . [T]his [the 2005 Rule 32
hearing] is the first I’m hearing it.” ([Id., Vol. 25 at] R. 36.) Bender
also testified that a suicide attempt in Broadnax’s past would “certainly”
have resulted in his seeking a psychological evaluation of Broadnax, but
that neither Broadnax nor any member of his family told Bender that
Broadnax had attempted suicide. ([Id., Vol. 26 at] R. 49.) Indeed,
Bender said that, despite speaking with Dorothy McKinstry numerous
times by telephone, Dorothy did not even mention to him before trial
that Broadnax had lived with her for a year; Dorothy said only that
Broadnax had visited her in the summers and on special occasions.

When questioned about the decision not to seek a psychological
evaluation of Broadnax, Bender explained:

      “My basis, and Mr. Brower and I discussed this, was this:
      Obviously, once you meet your client, you have a chance to talk
      to him[,] . . . see them on an occasion or two. And if there are
      things about the person’s demeanor, if there are things about the
      person’s conversation, if there are things about the persons’s
      behavior that would suggest to you that they’re not stable, then
      obviously you want to have them evaluated. It was just the
      opposite with Mr. Broadnax.

             ....

      “Mr. Broadnax was, in my opinion, in having dealt with, up to
      that point, having dealt with a lot of people who were in prison
      and who had committed crimes, he was a bright person. He was
      very fluent in his conversation. He was eloquent to a degree. He
      had – his handwriting was magnificent. He explained – those
      things that he explained to [me], he explained them to me in . . .
      a good sort of common sense. He had ideas. As I explained the
      facts to him as we knew them, he had ideas to sort of explain why

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                these things couldn’t be, why this couldn’t be this way. And so
                there was absolutely nothing about him, his demeanor, his
                conversation, his behavior, his hygiene [–] You know, hygiene is
                one of those things you can normally look at and tell whether a
                person has mental or emotional issues [–] [h]e had none of those
                things. So there was no reason, in my opinion, to have him
                evaluated. The fact that he was charged with this really
                horrendous crime is not a basis just to have him evaluated,
                especially when he tells you he didn’t have anything to do with it.
                And to be honest with you, I believed him.”

        ([Id., Vol. 25 at] R. 29-31.) Bender also described Broadnax as “[w]ell
        spoken” and “mild mannered” and said that Broadnax “could write” and
        that he “conversed well.” ([Id., Vol. 26 at] R. 97.) He further said that
        Broadnax was very cooperative, “as cooperative as any individual I
        probably ever represented before that and even since that.” ([Id., Vol.
        25 at] R. 32.) He also said that Broadnax was clearly capable both
        mentally and emotionally to assist in his defense.

Broadnax, 130 So. 3d at 1261-64 (footnote added).

        Broadnax did not question his attorneys about Dr. Benedict’s findings or about

his mental impairments or learning disabilities. His trial counsel were questioned

however about their efforts to obtain Broadnax’s school records. And, records for

three schools years (6th through 8th grades) obtained by Rule 32 counsel were

admitted at the 2005 hearing. Doc. 12, Vol. 25 at 951; id., Vol. 26 at 44-48. The

school records however do not reflect the level of impairment described by Dr.

Benedict.11


        11
          Broadnax’s letter grades by subject for each school year were: (1) sixth grade – an A in
physical education; a B in art; C’s in library, music, and science; and D’s in English, math, and social

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        In addition to addressing the testimony of trial counsel at the 2005 hearing, the

ACCA noted that Broadnax’s family – “his two sisters Dorothy McKinstry and

Annette McKinstry, his two nephews LaQuintas McKinstry and Joseph DeAngelo

McKinstry, and his niece Chiquita Swift” – testified at the hearing, and that their

testimony “did not support, but refuted, several of Broadnax’s allegations about his

childhood.” Broadnax, 130 So. 3d at 1245. The ACCA found:

        For example, in his original petition, Broadnax alleged that, when he
        lived with his older sister, Dorothy McKinstry, in Michigan for a year
        when he was a teenager, his sister and brother-in-law physically abused
        him and starved him. He also alleged in his second amended petition
        that while living in Michigan he attempted to commit suicide. However,
        at the 2005 hearing, Dorothy testified that neither she nor her husband
        physically abused Broadnax and that he was well fed while he lived with
        them. She also said that Broadnax’s alleged suicide attempt was not, in
        fact, a suicide attempt, but was an accidental overdose from a mixture
        of alcohol and pain medication Broadnax had stolen from her.
        Broadnax also alleged in his original petition and second amended
        petition that he was physically abused by his mother. However, at the
        2005 hearing, Broadnax’s younger sister, Annette McKinstry, testified
        that, although Broadnax was punished with “whippings” with a switch
        or a belt whenever he got into trouble, he was not punished excessively.
        ([Doc. 12, Vol. 26 at] R. 149.)

Id. at 1261 n.24.




studies; (2) seventh grade – an A in art; B’s in library, science, and writing; C’s in language,
literature, math, music, physical education, and speech arts; and D’s in social studies and spelling;
and (3) eighth grade – a year when Broadnax missed 26 days of schools – an A in art; a B+ in
physical education; a B in writing; a C+ in library; C’s in literature, science, and social studies; and
D’s in math and spelling. Doc. 12, Vol. 25 at 951.

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      In reviewing the performance of trial counsel, this court’s “test has nothing to

do with what the best lawyers would have done. Nor is the test even what most good

lawyers would have done. [The court] ask[s] only whether some reasonable lawyer

at the trial could have acted, in the circumstances, as defense counsel acted at trial.”

White v. Singletary, 972 F.2d 1218, 1220 (11th Cir. 1992). Generally, in a death

penalty case, trial counsel has an obligation to thoroughly investigate defendant’s

background for possible mitigation evidence. See Wiggins, 539 U.S. at 522. But,

while “[c]ounsel representing a capital defendant must conduct an adequate

background investigation, . . . it need not be exhaustive.” Raulerson v. Warden, 928

F.3d 987, 997 (11th Cir. 2019)(citation omitted).

      “In assessing the reasonableness of an attorney’s investigation, . . . a court

must consider not only the quantum of evidence already known to counsel, but also

whether the known evidence would lead a reasonable attorney to investigate further.”

Wiggins, 539 U.S. at 527. “[A] particular decision not to investigate must be directly

assessed for reasonableness in all the circumstances, applying a heavy measure of

deference to counsel’s judgments.” Strickland, 466 U.S. at 691. “‘[W]hat

investigation decisions are reasonable depends critically’ upon the information the

defendant furnishes to his counsel,” Pooler v. Secretary, Florida Dept. of

Corrections, 702 F.3d 1252, 1269 (quoting Strickland, 466 U.S. at 691), and

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information family members furnish to counsel, see Stewart, 476 F.3d at 1211. Of

course, as with all issues related to judging the reasonableness of counsel’s

performance under Strickland, “a court must avoid using ‘the distorting effects of

hindsight’ and must evaluate the reasonableness of counsel’s performance ‘from

counsel’s perspective at the time.’” Chandler v. United States, 218 F.3d 1305, 1316

(11th Cir. 2000)(quoting Strickland, 466 U.S. at 689).

      Moreover, “counsel is not required to seek an independent [mental] evaluation

when the defendant does not display strong evidence of mental problems.” Holladay,

209 F.3d at 1250 (citing Bertolotti v. Dugger, 883 F.2d 1503, 1511 (11th Cir. 1989)).

Indeed, in cases where the defendant did not “exhibit[ ] any ‘red flags’ or ‘obvious

indicators’ of substantial mental health problems, which would have led a reasonable

attorney to delve further into possible mental health issues,” Gissendaner v. Seaboldt,

735 F.3d 1311, 1332 (11th Cir. 2013), or where a defendant did not “have trouble

communicating and was generally cooperative” and “never did or said anything to

indicate to [counsel] that he had any mental problems,” Baldwin v. Johnson, 152 F.3d

1304, 1314 (11th Cir. 1998), counsel’s failure to request a psychiatric examination

was not deficient.

      As discussed supra, the testimony of trial counsel, when considered in light of

Broadnax’s family members’ testimony at the 2005 Rule 32 hearing, and Dorothy

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McKinstry’s testimony during the penalty phase of the trial, demonstrates that trial

counsel had no indication that a psychological evaluation was warranted or would

assist in their presentation of a mitigation case. Broadnax’s presentation and

demeanor did not indicate the presence of a mental or behavioral disorder. And,

although Broadnax faults trial counsel for failing to discover that he was physically

abused as a child, sexually abused by a neighbor, suffered a closed-head injury, and

had attempted suicide, no evidence in the record establishes that Broadnax or his

family members ever gave this information to counsel or that counsel ignored

indications or red flags that indicated further investigation was required.12

       Indeed, Broadnax has not pointed to any facts of record that would support a

finding that counsel had notice, much less “strong evidence,” of the need to have

Broadnax independently evaluated for mental and/or psychological impairments. See

Holladay, 209 F.3d at 1250. To the contrary, based on the record, after talking with

family members and interacting with Broadnax prior to trial, counsel had no reason

to suspect the existence of a psychological or mental impairment related to

Broadnax’s ability to engage in written expression that was later diagnosed by Dr.

       12
         See Rompilla, 545 U.S. at 390 (if counsel had looked in the file of petitioner’s prior
conviction, which was easily accessible and which the State planned to use to prove aggravating
circumstances, “they would have found a range of mitigation leads that no other source had opened
up”); Hardwick v. Sec'y, Fla. Dep't of Corr., 803 F.3d 541, 552 (11th Cir. 2015)(court found
counsel’s performance was deficient because counsel “was aware of a number of red flags,” but
unreasonably failed to investigate further).

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Benedict. And, Broadnax has not identified what “red flags” his trial counsel should

have seen that would have led a reasonable lawyer to have Broadnax evaluated by

a mental health professional.

      To close, Broadnax’s reliance on Dr. Benedict’s post-trial evaluation and report

has “merely conflate[d] the existence of [the] contrary picture of [his] upbringing [and

mental condition] developed ex post on collateral review [by Dr. Benedict] with [trial

counsel’s] therefore-inadequate ex ante actions.” Tharpe, 834 F.3d at 1342. Stated

differently, that Broadnax presented evidence developed years after trial that he

suffered cruelly as a child and that he had cognitive and learning impairments does

not answer the question of what trial counsel knew, or should have known, at the time

of trial that made their decision not to seek a psychological evaluation unreasonable.

Therefore, Broadnax has not “established that no competent counsel would have

taken the action that his counsel did take,” Chandler, 218 F.3d at 1315, and, because,

most, if not all, fairminded jurists would agree with the ACCA’s decision, habeas

relief on this issue is due to be denied.

             b. The Prejudice Prong

      In light of the finding related to trial counsel’s performance, the court need not

decide whether Broadnax suffered any prejudice. However, the court provides the

following with regard to the exclusion of Dr. Benedict’s hearsay testimony and the

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purported prejudice from counsel’s failure to obtain an independent psychological

evaluation.

                      i. Whether the Exclusion of Hearsay Evidence at the Rule 26
                      Hearing Violated Broadnax’s Due Process Rights (Claim C)

      Broadnax contends that the state court violated his due process rights by

excluding hearsay testimony at his Rule 32 hearing, even though that testimony

would have been admissible at the penalty phase of his case. Doc. 1 at 75. Under

Alabama law, hearsay testimony is not admissible in Rule 32 proceedings. Davis v.

Allen, No. CV 07-S-518-E, 2016 WL 3014784 at *94-95 (N.D. Ala. May 26,

2016)(citing Hunt v. State, 940 So. 2d 1041, 1051 (Ala. Crim. App. 2005)).

Consistent with the law, the trial court excluded hearsay testimony Broadnax offered

from Dr. Benedict at the 2011 hearing, and Broadnax contends this ruling violated his

due process rights.

      “The standard of review for state evidentiary rulings in federal habeas corpus

proceedings is a narrow one. Only when evidentiary errors ‘so infused the trial with

unfairness as to deny due process of law’ is habeas relief warranted.” Felker v.

Turpin, 83 F.3d 1303, 1311-12 (11th Cir. 1996)(quoting Lisenba v. California, 314

U.S. 219, 228 (1941), quoted and applied in Estelle v. McGuire, 502 U.S. 62, 75

(1991); and citing Baxter v. Thomas, 45 F.3d 1501, 1509 (11th Cir. 1995); Kight v.



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Singletary, 50 F.3d 1539, 1546 (11th Cir. 1995)). Therefore, “a federal court

reviewing a state prisoner’s habeas petition may not ‘reexamine state-court

determinations on state-law questions,’ but it may review state evidentiary rulings to

determine whether the rulings violated the petitioner’s due process rights.” Smith v.

Jarriel, 429 F. App’x. 936, 937 (11th Cir. 2011) (quoting Estelle, 502 U.S. at 67-68;

other citations omitted).

      Based on the court’s review of the record, the exclusion of Dr. Benedict’s

testimony as hearsay did not violate Broadnax’s due process rights. As the ACCA

pointed out, Broadnax could have presented the substance of these hearsay statements

through the testimony of Broadnax and the relevant family members. However,

despite being present at the evidentiary hearing, Broadnax did not testify as to the

events described in Dr. Benedict’s proffer, and he did not call any family members

to testify to the events that were the subject of statements to Dr. Benedict. Because

Broadnax was not denied the opportunity to present these facts in an admissible form

at the evidentiary hearing, he cannot show that the failure to allow Dr. Benedict to

offer this testimony denied him a fundamentally fair proceeding. Simply arguing that

hearsay statements are admissible in the penalty phase proceedings is insufficient to

establish that exclusion of hearsay testimony made the Rule 32 proceeding so




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fundamentally unfair that it violated his right to due process. Therefore, Broadnax’s

claim on this issue is due to be denied.13

                       ii. Whether Counsel’s Failure to Obtain a Psychological
                       Evaluation Prejudiced Broadnax

       “Under Strickland, a defendant is prejudiced by his counsel’s deficient

performance if ‘there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.’” Porter v. McCollum,

558 U.S. 30, 40 (2009)(quoting Strickland, 466 U.S. at 694). “[W]hen defense

counsel’s alleged deficiency occurred at the penalty phase of a capital trial, a habeas

petitioner needs to show that, ‘but for his counsel’s deficiency, there is a reasonable

probability he would have received a different sentence.’” Waldrop v. Comm’r,

Alabama Dep’t of Corr., 711 F. App’x 900, 910 (11th Cir. 2017)(quoting Porter, 558

U.S. at 41).      “A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. Again, to assess this

“reasonable probability,” the court must “evaluate the totality of the available



       13
          In evaluating the reasonableness of the State court’s prejudice determination, the federal
habeas court “evaluate[s] the totality of the available mitigation evidence – both that adduced at trial
and the evidence adduced in the habeas proceeding – in reweighing it against the evidence in
aggravation.” Williams, 529 U.S. at 397-98 (citing Clemons v. Mississippi, 494 U.S. 738, 751-52
(1990)); see also Jones v. GDCP Warden, 753 F.3d 1171, 1185 (11th Cir. 2014). This “available
mitigating evidence” includes Dr. Benedict’s offer of proof. Therefore, if Broadnax had shown
deficient performance, this court would have considered Dr. Benedict’s proffered hearsay testimony
as available mitigating evidence and weighed that evidence against the aggravating evidence.

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mitigation evidence – both that adduced at trial, and the evidence adduced in the

habeas proceeding – in reweighing it against the evidence in aggravation.” Williams,

529 U.S. at 397-98 (citing Clemons, 494 U.S. at 751-52). The petitioner has the

burden of showing “that the evidence on the prejudice question is so one-sided in his

favor that the [ACCA’s determination that he was not prejudiced by counsel’s failure

to have him psychologically evaluated] is, as the Supreme Court has phrased it,

‘beyond any possibility for fairminded disagreement.’” Holsey v. Warden, Georgia

Diagnostic Prison, 694 F.3d 1230, 1258 (11th Cir. 2012)(quoting Harrington, 562

U.S. at 103).

      With regard to the question of prejudice, the Rule 32 court held:

      To support his claim that he was prejudiced by the absence of
      psychological testimony, Broadnax offered the testimony of Dr. Kenneth
      Benedict, a psychologist . . . Dr. Benedict testified regarding a number
      of tests he administered to Broadnax, including an ‘I.Q.’ test that
      showed Broadnax to be in the average to low average intelligence range.
      Dr. Benedict opined that Broadnax suffered from . . . Cognitive Disorder
      Not Otherwise Specified, Expressive Language Disorder, Reading
      Disorder, and Disorder of Written Expression.

      The State offered evidence of four aggravating circumstances at the
      penalty phase and the jury . . . unanimously recommended the death
      penalty. There is no reasonable probability that testimony that Broadnax
      suffers from “Cognitive Disorder Not Otherwise Specified” and
      language disorders would have led to a different result in this case.
      Similarly, the Court finds that the test results testified to by Dr. Benedict
      do not give rise to a reasonable probability that the result of his trial
      would have been different had trial counsel presented them. . . .

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Broadnax, 130 So. 3d at 1265 (quoting doc. 12, Vol. 32, Tab 76 at 79-80)(internal

quotations omitted). The Rule 32 court also noted:

      Prior to the evidentiary hearing, the State filed a motion in limine
      seeking to exclude the presentation of hearsay evidence through Dr.
      Benedict. The Court granted the State’s motion, but allowed Broadnax
      to make a proffer regarding the testimony he expected from Dr.
      Benedict. The proffer included statements made to Dr. Benedict by
      Broadnax and his family regarding Broadnax’s childhood and Dr.
      Benedict’s opinions based on those statements. For instance, Broadnax
      told Dr. Benedict that he [was] sexually assaulted by a neighbor when
      he was an adolescent. Based on this statement Dr. Benedict was
      expected to opine that Broadnax suffered from post traumatic distress
      syndrome and other mental problems. Though the evidence described
      in Broadnax’s proffer was not before the Court, the Court has
      considered it for the purposes of an alternative finding. Broadnax was
      thirty-five when he murdered the victims in this case. The court finds
      that it is not reasonably probable that a diagnosis of PTSD based on an
      event that occurred more than twenty years earlier would have had any
      impact on the jury’s decision. As such, the Court finds that even
      considering the proffered evidence, Broadnax failed to demonstrate
      prejudice.

Doc. 12, Vol. 32, Tab 76 at 81-82.

      The ACCA did not address this alternative prejudice decision by the circuit

court. Broadnax, 130 So. 3d at 165 n.25. However, it did agree with the circuit

court’s prejudice finding, stating that after “thoroughly review[ing] the record from

Broadnax’s direct appeal, . . . we agree with the circuit court that even if evidence had

been presented to the jury that Broadnax had a cognitive disorder, not otherwise

specified, a receptive-expressive language disorder, a reading disorder, and a disorder

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of written expression, such evidence would not have altered the balance of

aggravating and mitigating circumstances in this case.” Broadnax, 130 So. 3d at

1267-68. Consequently, the court found “the circuit court also correctly found that

Broadnax failed to prove that he was prejudiced by his counsel’s decision not to have

him evaluated.” Id.

       This court has reviewed, de novo, “(1) evidence from the original

guilt-innocence phase, (2) evidence from the original penalty phase, [and] (3)

evidence the petitioner presented to the state habeas court,” including Dr. Benedict’s

hearsay evidence. See Whatley, 927 F.3d at 1176. Based on its review, the court

finds no substantial likelihood that Broadnax would have received a different

sentence if the decisionmakers had heard Dr. Benedict’s complete opinion.

       To begin, as the ACCA found:

       The jury’s verdicts from the guilt phase of Broadnax’s trial established
       beyond a reasonable doubt the aggravating circumstances that the
       capital offense was committed during a kidnapping and that Broadnax
       had committed the capital offense after having been convicted of a
       felony involving the use . . . of violence, i.e., murder.14 See Coral v.
       State, 628 So. 2d [954,] 965-66 [(Ala. Crim. App. 1982)].

       Additionally, the evidence presented during the guilt phase of trial was
       uncontroverted that Broadnax was serving a sentence of imprisonment


       14
         At the 2005 Rule 32 evidentiary hearing, the State offered details about the 1978 murder,
including that, after the victim had turned to leave, Broadnax shot at him six times and then reloaded
and fired three more shots. Doc. 12, Vol. 26 at 214.

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       at the time of the offenses. The state also argued that the killings of Jan
       and DeAngelo were “especially heinous, atrocious, and cruel”15 because
       of the “nature of the killings” and because of the extensive mental
       anguish suffered by DeAngelo before his death. The state emphasized
       the testimony during the guilt phase of Dr. Brissie that Jan’s and
       DeAngelo’s wounds indicated that they were lying on the ground
       defenseless when they were stabbed. The state reiterated Dr. Brissie’s
       testimony that Jan received at least 13 head wounds and that
       DeAngelo’s skull was brutally crushed. The state further argued that
       because the evidence indicated that DeAngelo saw his grandmother, Jan,
       being beaten and then had to ride in terror for approximately one and a
       half hours before Broadnax decided to kill him, DeAngelo’s murder was
       especially [HAC] as compared to other capital offenses.

Broadnax, 825 So. 2d at 214-15 (footnote added).16




       15
            Heinous, atrocious, and cruel are hereafter referred to as HAC.
       16
            In her concurrence, Judge Cobb wrote:

       The evidence indicates that Broadnax viciously beat his wife, Jan, to death with his
       fists and with wooden sticks in the presence of her four-year-old grandson. The
       evidence indicates that Broadnax then stuffed his wife’s body into the trunk of her
       automobile and drove the automobile from his prison work-release workplace, with
       her grandson in the car with him. After taking the four-year-old from the scene of
       his first murder, Broadnax then beat the young child to death with such force that it
       caused the top of his brain to be ripped and lacerated. . . . It boggles the mind to
       consider the terror of a small child abducted by a man whom he had just watched
       brutally beat his grandmother to death, realizing he was about to meet the same
       grizzly fate.

Broadnax, 825 So. 2d at 223 (Cobb, J., concurring specially).

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       Despite this overwhelming evidence supporting the aggravating circumstances,

Broadnax argues that trial counsel erred, in part, by failing to present mitigating

evidence regarding psychological problems, including his alleged suicide attempt.17

But, Broadnax overlooks that overwhelming evidence of aggravating circumstances

can indeed outweigh prejudice caused by counsel’s failure to present mitigating

evidence. This is especially the case where, as here, the alleged psychological trauma

is years removed from the murders in question. As the Eleventh Circuit found in a

case involving a similar issue:

       The mitigation evidence offered at the Rule 32 hearing primarily
       concerned physical abuse [petitioner] suffered as a child, yet [petitioner
       was 35 when he committed the crime. When a defendant is several
       decades removed from the abuse being offered as mitigation evidence
       its value is minimal. See Francis v. Dugger, 908 F.2d 696, 703 (11th
       Cir.1990) (according “little, if any, mitigating weight” to evidence of a
       deprived and abusive childhood where defendant was 31 years old when
       he committed the murder). . . . Overall, the mitigation evidence offered
       on [petitioner’s] behalf was less than compelling.

       On the other hand, the state court found three aggravating factors: the
       crime was committed while [petitioner] was under sentence of
       imprisonment; [petitioner] had been previously convicted of a crime of
       violence; and the murder was committed during a kidnapping. We have
       previously noted that “[m]any death penalty cases involve murders that
       are carefully planned, or accompanied by torture, rape or kidnapping.”


       17
          The record shows that trial counsel had no evidence to support this contention regarding
a suicide attempt. Dorothy McKinstry, at whose house the alleged suicide attempt occurred, testified
that Broadnax did not attempt suicide, and that Broadnax overdosed instead on pain pills and alcohol
he took in an effort to get high.

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      Dobbs v. Turpin, 142 F.3d 1383, 1390 (11th Cir. 1998) (alteration in
      original)(quotations omitted). “In these types of cases, this court has
      found that the aggravating circumstances of the crime outweigh any
      prejudice caused when a lawyer fails to present mitigating evidence.”
      Id. While that is obviously not an absolute rule, it demonstrates the
      burden a defendant faces when trying to overcome such harsh
      aggravating factors with mitigating evidence. See Clisby v. Alabama,
      26 F.3d 1054, 1057 (11th Cir.1994) (“[S]ometimes the best lawyering,
      not just reasonable lawyering, cannot convince the sentencer to overlook
      the facts of a brutal murder – or, even, a less brutal murder for which
      there is strong evidence of guilt in fact.”); see also Crawford v. Head,
      311 F.3d 1288, 1321 (11th Cir. 2002)(finding no prejudice in part
      because of the “strength of the evidence both of Crawford’s guilt and of
      the aggravating circumstances”).

Callahan v. Campbell, 427 F.3d 897, 937-38 (11th Cir. 2005).

      Indeed, here, the alleged trauma Broadnax cites is many years removed from

the murders. Moreover, the evidence belies Dr. Benedict’s contentions regarding the

alleged impact of the on Broadnax. For example, family members testified that

Broadnax is a gifted artist and one nephew added that Broadnax offered him some art

instruction. They testified also that Broadnax made small gifts for them from scrap

lumber. In addition, counsel testified that Broadnax had “magnificent” handwriting,

and, at the hearing, Broadnax’s sister Annette read a card that Broadnax sent her on

the occasion of her anniversary. The sentiment, apparently composed by Broadnax,

demonstrates that he, at least in that instance, did not have difficulty with written

composition. Yet, Dr. Benedict diagnosed Broadnax with difficulty with his fine



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motor skills and a written expression disorder. But, fine motor skills are necessary

for drawing, woodworking, and handwriting. And, a component of the disorder of

written expression includes problems with handwriting and composition. Put simply,

the testimony of the family belied Dr. Benedict’s diagnosis.

      The evidence also contradicts Dr. Benedict’s opinion that Broadnax would

have difficulty making decisions under novel problem-solving conditions. To begin,

as trial counsel testified, Broadnax was quick to supply information regarding his

alibi, including the 9:00 p.m. phone call to his brother and information that his

murdered wife left Welborn at 8:20 p.m. – times when the jury found Broadnax was

in Birmingham or returning from Birmingham. And, the evidence showed also that

Broadnax hid his bloody uniform and boots, and when these items were subsequently

discovered, he explained that he sold or someone had stolen the items long before the

murders. While the jury’s verdict indicates that it did not believe Broadnax’s

explanations, the fact that Broadnax provided the police and his counsel with these

explanations belies the contention that he has a cognitive disorder severely limiting

his ability to plan and to react when faced with novel conditions.

      The medical evidence also undermines Dr. Benedict’s findings. For example,

although the medical record obtained by Dr. Benedict did not report that Broadnax

sustained a head injury when he was hit by a car, Dr. Benedict determined

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nevertheless that “[a]t the age of 13 Mr. Broadnax was struck by a car such that he

was pinned between the car and a brick wall. Physical injuries included a broken leg

and fractured pelvis. He was discharged from the hospital with minimal medical care,

and the conclusion that there was no head injury was based on the absence of loss of

consciousness.” Doc. 12, Vol. 36 at 956. He noted:

      Information pertaining to Mr. Broadnax’s physical trauma, his
      experiences during adolescence and adulthood, and his neurocognitive
      profile lead the evaluator to conclude that, despite the negative (i.e.,
      absence of) findings from a notably cursory evaluation immediately
      following his being directly struck by a car, Mr. Broadnax demonstrates
      the tell-tale signs of a brain injury secondary to closed head trauma.
      Most telling are his deficits in verbal memory and executive functions
      mediated by the temporal and frontal lobes — those most vulnerable to
      the effects of closed head injury, and the extensive compensatory
      mechanisms he employs in attempting to adapt (e.g., attempting to read
      lips, asking others to write for him, and heavy reliance on models in the
      form of received mail, used to remember the way certain words are
      formed).

Id. at 958 (emphasis added). Even if Dr. Benedict is correct, trial counsel’s failure

to discover Broadnax’s alleged closed-head injury, which is not contained in

Broadnax’s medical records and which the record contains no evidence of anyone

mentioning to counsel, is not indicative of an inadequate investigation.

      Finally, the evidence presented and proffered by Dr. Benedict “would not be

enough to alter the outcome [of the sentencing phase] in the face of the aggravating

circumstances.” Ferguson v. Sec’y for Dep’t of Corr., 580 F.3d 1183, 1202 (11th Cir.

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2009). To the contrary, as the Eleventh Circuit has repeatedly held, substantial

evidence of aggravating circumstances undermine a showing of prejudice. See, e.g.,

Holsey v. Warden, Georgia Diagnostic Prison, 694 F.3d 1230, 1268-69 (11th Cir.

2012).18 Based on Circuit precedent, the strong evidence of four aggravating




       18
            The Holsey opinion contains the following passage:

       “This is not a case where the weight of the aggravating circumstances or the evidence
       supporting them was weak.” Sochor [v. Sec’y Dep’t of Corr.], 685 F.3d [1016,] 1030
       [(11th Cir. 2012)] (alteration omitted); accord Kokal [v. Sec’y Dep’t of Corr.], 623
       F.3d [1331,] 1347 [(11th Cir. 2010)]. Not at all. There was, and is, substantial
       evidence of aggravating circumstances, which makes it more difficult to establish
       prejudice under Strickland. See Sochor, 685 F.3d at 1030-33 (holding that a
       petitioner did not establish the prejudice prong of Strickland in part because there
       was strong evidence of the aggravating circumstance that the murder was “especially
       [HAC]”); Rose v. McNeil, 634 F.3d 1224, 1242 (11th Cir. 2011)(holding that a
       petitioner did not establish the prejudice prong of Strickland in part because there
       was “substantial evidence in aggravation”); Callahan [v. Campbell], 427 F.3d [897,]
       938 [(11th Cir. 2005)](holding that strong aggravation “demonstrates the burden a
       defendant faces when trying to overcome ... harsh aggravating factors with mitigating
       evidence”); Kokal, 623 F.3d at 1347-48 (finding that the Florida Supreme Court’s
       holding that a petitioner had not shown prejudice was not an unreasonable
       application of Strickland in part because “the aggravating circumstances . . . are
       especially powerful”); Rutherford v. Crosby, 385 F.3d 1300, 1316 (11th Cir.
       2004)(“A third reason why the Florida Supreme Court’s decision that [the petitioner]
       had not established prejudice is not objectively unreasonable is that this is not a case
       where the weight of the aggravating circumstances or the evidence supporting them
       was weak.”); Crawford v. Head, 311 F.3d 1288, 1321 (11th Cir. 2002)(finding no
       prejudice in part because of the “strength of the evidence both of [the petitioner’s]
       guilt and of the aggravating circumstances”); Hall v. Head, 310 F.3d 683, 706 (11th
       Cir. 2002)(holding “that the state court’s calculus as to prejudice was [not] an
       unreasonable one” in part “because the aggravating evidence is strong”); cf. Williams
       [v. Allen], 542 F.3d [1326,] 1343 [(11th Cir. 2008)](“Further supporting a finding of
       prejudice is the fact that this case is not highly aggravated.”).

Holsey v. Warden, Georgia Diagnostic Prison, 694 F.3d 1230, 1268-69 (11th Cir. 2012).

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circumstances,19 balanced against the equivocal mitigating evidence,20 convinces this

court that no reasonable possibility exists that the jury would not have recommended

a sentence of death had counsel presented evidence of the results of Dr. Benedict’s

evaluation during the penalty phase of the trial.21 “[A] reasonable jurist could

conclude that the horrific facts of the murder[s] would have completely eviscerated

the effect of [evidence of mitigation gleaned from a psychological evaluation, such

as that performed by Dr. Benedict].” See Brooks v. Comm’r, Alabama Dep’t of Corr.,

719 F.3d 1292, 1302 (11th Cir. 2013). Therefore, even if the court assumes trial

counsel performance was deficient, it is satisfied, based on a de novo review of the

record, that Broadnax cannot establish that he was prejudiced by counsel’s failure to

have him psychologically evaluated before trial.




        19
          The aggravating circumstances included the kidnapping and beating to death of the four-
year-old witness to the beating death of his grandmother by a convicted murderer serving a 99-year
sentence.
        20
          The mitigation evidence included that Broadnax suffered cognitive impairments and
learning disabilities affecting his ability to process language, perhaps from a closed head injury, that
he may have been raped and abused as a child, and that he may have tried to kill himself as a
teenager.
        21
          See Williams v. Allen, 458 F.3d 1233, 1245 (11th Cir. 2006)(“weak and unpersuasive”
mitigating evidence of defendant’s “(1) . . . anti-social personality disorder, (2) a non-violent
criminal history, (3) an unstable family life, and (4) an extensive alcohol and drug abuse problem”
was not sufficient to “have tipped the sentencing scales, especially when the trial court noted that
the statutory aggravators far outweighed the mitigating factors”).

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      To close, Broadnax has not demonstrated that his trial counsel were ineffective

for failing to have him psychologically evaluated prior to trial. This court finds that

most, if not all, fairminded jurists would agree with the ACCA’s decision, that

“Broadnax failed to prove that his counsel’s decision not to seek a psychological

evaluation constituted deficient performance.” Broadnax, 130 So. 3d at 1266.

Therefore, habeas relief on this issue is due to be denied.

B. GUILT PHASE JURY INSTRUCTION – “REASONABLE DOUBT” (Claim
J)

      Broadnax alleges the jury instruction as to reasonable doubt “violated clearly

established United States Supreme Court precedent because it lowered the state’s

burden of proof.” Doc. 1 at 97. Specifically, he contends:

      In Cage v. Louisiana, [498 U.S. 39, 41 (1990)] the United States
      Supreme Court reversed the defendant’s conviction because[,] when
      instructing the jury, the trial court equated reasonable doubt with “grave
      uncertainty” and “an actual substantial doubt” and stated that they
      needed to have a “moral certainty” that the defendant was guilty. Such
      an instructional error is a structural error and requires reversal.

      A close examination of the instruction in this case indicates that it has
      the same flaws as the instructions in Cage. Just as the trial court did in
      Cage, the trial court here equated “reasonable doubt” to a “moral
      certainty.” The court defined the types of doubts that the jury could
      have as those that are “sensible” and “sound.” The court then went on
      to say that[,] if they did not have an “abiding conviction” that the
      defendant is guilty, they should find him not guilty. This of course
      implies the converse, that if they do have an abiding conviction that Mr.
      Broadnax is guilty, they should convict him.

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      This instruction, when viewed as a whole, lessened the prosecution’s
      burden of proof in this case. The word “conviction,” as the trial court
      used it, means “The mental state or condition of being convinced; strong
      belief on the ground of satisfactory reasons or evidence; settled
      persuasion.” A “strong belief” is not the same as “beyond a reasonable
      doubt.” When examined as a whole, the trial court’s instruction to the
      jury lowered the prosecution’s burden of proof.

Id. at 98-99. In rejecting this contention, the ACCA held that “the trial court’s

definition of reasonable doubt substantially tracks the instruction in the Alabama

Pattern Jury Instructions: Criminal (3d ed. 1994),” and that “taken as a whole, the

instruction adequately defined reasonable doubt so that there is no reasonable

likelihood that the jury would have applied it in an unconstitutional manner.”

Broadnax, 825 So. 2d at 199.

      In evaluating state-court jury instructions regarding“reasonable doubt,” the

court is mindful that:

      The beyond-a-reasonable-doubt standard is a requirement of due
      process, “but the Constitution neither prohibits trial courts from defining
      reasonable doubt nor requires them to do so as a matter of course.”
      [Victor v. Nebraska, 511 U.S. 1, 5 (1994)]. As long as a trial judge
      “instructs the jury on the necessity that the defendant’s guilt be proved
      beyond a reasonable doubt, the Constitution does not require that any
      particular form of words be used in advising the jury of the
      government’s burden of proof.” Id. (citation omitted). Taken as a
      whole, the jury instructions must convey the concept of reasonable
      doubt correctly to the jury. Id. When reviewing the correctness of
      reasonable-doubt charges, the inquiry is “whether there is a reasonable
      likelihood that the jury understood the instructions to allow conviction
      based on” a lower burden of proof than that required by the

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      Constitution. Johnson v. Alabama, 256 F.3d 1156, 1191 (11th Cir.
      2001)(citation and internal quotation marks omitted).

Icenhour v. Medlin, 567 F. App’x. 733, 737 (11th Cir. 2014).

      A review of the record shows that the state court “convey[ed] the concept of

reasonable doubt correctly to the jury.”22 In fact, the trial court repeatedly instructed


      22
           The relevant portion of the court’s instruction to the jury states:

      Now, this defendant, as a matter of law, enters into this trial with the presumption
      that he is not guilty as charged in the indictment, and that is a presumption that he is
      innocent. . . . And the burden is on the State of Alabama to so convince you from the
      evidence of the defendant’s guilt beyond a reasonable doubt and to a moral certainty
      of the guilt of the defendant before you would be authorized to convict. . . .

      A reasonable doubt . . . may grow out of all of the evidence, it may grow out of a part
      of the evidence, or it may grow out of a lack of the evidence. The terms “reasonable
      doubt” and “moral certainty” are equivalents of each other. And this means that if
      you are convinced from the evidence of the defendant’s guilt beyond a reasonable
      doubt, then you would be convinced to a moral certainty. And, of course, the reverse
      of this is true.

      The term “reasonable doubt” is self-defining. It means a doubt that is reasonable, a
      doubt for which a reason can be given. And by reason, the law means a sound,
      sensible reason. And since this is true, a reasonable doubt does not mean an
      imaginary doubt, a speculative doubt, or a fanciful doubt. It means just as it says, a
      reasonable doubt.

      Moral certainty does not mean to a mathematical certainty, . . . The best way I know
      of putting this, ladies and gentlemen: If after a full and fair consideration of all of
      the evidence . . . , there remains in your minds an abiding conviction that the
      defendant is guilty as charged, then you would be so convinced beyond a reasonable
      doubt. And in that event, the defendant should be convicted. On the other hand, if
      after that same full and fair consideration of all of the evidence . . . there does not
      remain in your minds an abiding conviction that the defendant is guilty as charged,
      then you would not be so convinced beyond a reasonable doubt. And in that event,
      the defendant should be acquitted.
              ...
      A person charged with a felony should not be convicted unless the evidence excludes

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the jury that the State had the burden of proving each element of each count beyond

a reasonable doubt.23 And, the court informed the jury that only if the State met this

burden of proof could the jury find Broadnax guilty.24 Otherwise, the court instructed

the jury that it must find Broadnax not guilty if it is not convinced by the evidence of

Broadnax’s guilt as to each element of each of the four counts.25 Taken as a whole,


       to a moral certainty every reasonable hypothesis but that of his guilt. No matter how
       strong the circumstances are, they do not come up to the full measure of proof which
       the law requires if they can be reasonably reconciled for the theory that he is
       innocent.

       Now, the test of the sufficiency of circumstantial evidence is whether the
       circumstances, as proven, produce a moral conviction to the exclusion of all
       reasonable doubt of the guilt of the accused. . . . You must be convinced from the
       evidence of the defendant’s guilt beyond a reasonable doubt and to a moral certainty
       before you would be authorized to convict. And the burden is on the State of
       Alabama to so convince you from the evidence.

Doc. 12,Vol. 8, Tab 19 at 253-56, 262-63, 264-65.
       23
         See, e.g., doc. 12,Vol. 8, Tab 19 at 269 (“[T]o convict, the State must prove beyond a
reasonable doubt each of the following elements of an intentional murder of two or more persons,”
which was Count 1 of the Indictment); see also id. at 260-61, 272-73, 275, 277-78, 279, 283.
       24
          See, e.g., doc. 12,Vol. 8, Tab 19 at 285 (“[I]f after a full and fair consideration of all the
evidence in this case, if you are convinced from the evidence beyond a reasonable doubt and to a
moral certainty, that the defendant is guilty of the offense of capital murder as charged in Count 1
of the indictment, then the form or your verdict should be: We, the jury, find the defendant guilty
of capital murder as charged in Count 1 of the indictment.”); see also id. at 273, 277-78, 282, 284,
286, 287, 288-89.
       25
          See, e.g., doc. 12,Vol. 8, Tab 19 at 285-86 (“However, if you are not so convinced from the
evidence beyond a reasonable doubt and to a moral certainty that the defendant is guilty of the
offense of capital murder as charged in the indictment, then the form of your verdict should reflect
that finding. And in that event, the form of your verdict should be: We, the jury, find the defendant
not guilty as charged in Count 1 of the indictment.”); see also id. at 273, 278, 282, 284-85, 286-87,
289.

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by “[e]mphasizing the state’s burden and the jury’s obligation to focus on the

evidence presented, the entire instruction establishes it was not reasonably likely the

jury applied the instruction in an unconstitutional manner.” Icenhour, 567 F. App’x.

at 737 (citing Victor, 511 U.S. at 5; Johnson, 256 F.3d at 1190-94). Most, if not all,

fairminded jurists would agree with the ACCA’s decision that “the trial court’s

instruction to the jury on reasonable doubt, . . . taken as a whole, . . . adequately

defined reasonable doubt so that there is no reasonable likelihood that the jury would

have applied it in an unconstitutional manner.” Broadnax, 825 So. 2d at 199.

Therefore, Broadnax is not entitled to relief on this issue.

C. COURT’S PENALTY PHASE INSTRUCTIONS

       Broadnax also challenges comments the court made to the jury during the

penalty phase of the trial.

       1. Whether the Court Issued an Instruction That Created a Presumption
       that Death was a Proper Punishment (Claim H)

       Broadnax argues that the trial court’s instructions to the jury at the beginning

of the penalty phase created a presumption that death was the appropriate

punishment.26 Doc. 1 at 90. Relevant here, immediately after polling the jury


       26
          As Broadnax puts it, “[i]t is essential that the capital-sentencing process allows the jury
to consider all mitigation evidence relevant to the offender or the offense. The trial court’s statement
to the jury violates the Eighth Amendment because it implied to the jury that once it found an
aggravating circumstance, the proper sentence is death unless the defendant introduces mitigation

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regarding the guilty verdicts they rendered, the court stated, in part, that “what will

be presented will be aggravating circumstances . . . by the State, which would tend

to cause the jury to return a verdict recommending death . . . and mitigating

circumstances . . . by the defense, which would tend to try to get the jury to return a

verdict . . . imposing life in the penitentiary without parole.”27 Doc. 12, Vol. 8 at 300-




evidence sufficient to outweigh the aggravating evidence.” Doc. 1 at 91-92 (footnotes omitted).
       27
            The court stated in relevant part:

       Now, ladies and gentlemen, at the jury selection process, you were told that in the
       event that the jury did find the defendant guilty of capital murder, that we would go
       into a sentencing hearing, which we will do . . . [in] just a few minutes.

       Now, what the sentencing hearing is, is a hearing similar to the guilt phase of the
       trial. I have never known one to take that long, but usually – well, I don’t know what
       evidence will be presented. But what will be presented will be aggravating
       circumstances presented by the State, which would tend to cause the jury to return
       a verdict recommending death by electrocution and mitigating circumstances as
       presented by the defense, which would tend to try to get the jury to return a verdict
       finding – or imposing life in the penitentiary without parole.

       Now, these are advisory verdicts, so that ultimately the decision is made by the
       Court. But these are advisory verdicts rendered by the jury, which you feel are most
       appropriate in this case.

       After you have been presented evidence first by the State, then by the defense, then
       we will have summation. And then after that, I will recharge you as to the manner in
       which you are to consider the evidence that you have heard in this punishment phase.

       So before we go into that hearing, let me send you back to the jury room for just a
       few minutes, . . . And as soon as we are ready to proceed, then we will bring you
       back out and we will proceed with the punishment phase of the proceedings.

Doc. 12, Vol. 8 at 300-02.

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02. Broadnax asserts this statement infected the jury’s evaluation of the case during

the penalty phase.

       The ACCA “reject[ed] Broadnax’s contention that the trial court’s comment

created a presumption of death.” Broadnax, 825 So. 2d at 211. It noted that the trial

court had instructed the jury that the State had the burden to prove any aggravating

circumstances beyond a reasonable doubt and that the aggravating circumstances

must outweigh the mitigating circumstances before it could recommend the penalty

of death. Id. The court also found that “[a]ny misunderstanding that may have been

caused by the trial court’s earlier comment was cured by [a later] instruction.”28 Id.

       Broadnax contends that the trial court’s statement “violate[d] the Eighth

Amendment because it implied to the jury that once it found an aggravating

circumstance, the proper sentence is death unless the defendant introduces mitigation



       28
            At the end of the penalty phase, the trial judge charged the jury, in part:

       While it is your duty to follow the instructions which the Court has given you, no
       statement, question, ruling, remark, or other expression that I have made at any time
       during this trial, either during the guilt phase or during the sentence hearing is
       intended to indicate any opinion of what the facts are or what the punishment should
       be.

       It is your responsibility to determine the facts and fix the punishment; and in doing
       so, you should not be influenced in any way by what you may imagine to be my
       views on such subject.

Broadnax, 825 So. 2d at 211 (quoting doc. 12, Vol. 8, Tab 26 at 355).

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evidence sufficient to outweigh the aggravating evidence.” Doc. 1 at 91-92. The

record does not support this contention. To begin, Roberts v. Louisiana, 431 U.S.

633, 637 (1977), which Broadnax cites, stands for the broad proposition that “it is

essential that the capital-sentencing decision allow for consideration of whatever

mitigating circumstances may be relevant to either the particular offender or the

particular offense.” Id. The alleged improper comment did not limit the jury’s

consideration of any mitigating circumstance, and, as such, did not violate Roberts.

      Moreover, even if the trial court’s comment constituted error, it did not have

a “substantial and injurious effect or influence in determining the jury’s verdict.” See

Brecht v. Abrahamson, 507 U.S. 619, 623 (1993). The trial judge made the

challenged comment during the transition from the guilt to the penalty phase. Taken

in context, the comment merely explained to the jury the sequence the penalty

proceeding would follow, described the distinction between aggravating and

mitigating circumstances, and informed the jury the party who will present each type

of evidence. Contrary to Broadnax’s contention, the trial judge’s comment did not

imply that Broadnax had the burden to “introduce[] mitigation evidence sufficient to

outweigh the aggravating evidence” or outline a scenario when a death verdict would

purportedly be automatic. Moreover, the trial court’s instructions to the jury at the

end of the penalty phase cured any misunderstanding that may have occurred had a

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juror misinterpreted the court’s earlier comments in the unlikely manner Broadnax

proposes. For these reasons, and in light of the horrific circumstances of the crimes

and Broadnax’s unique characteristics and circumstances, including that he

committed these murders while serving time for another murder, Broadnax has failed

to establish that the innocuous introductory comment by the trial court had any effect,

much less a substantial and injurious one, on the jury’s penalty phase verdict.

Therefore, habeas relief on this claim is due to be denied.

       2. Whether the trial court erred by instructing the jury that Broadnax
       had to prove mitigating circumstances to a “Reasonable Satisfaction” –
       Harmless Error (Claim D)

       Broadnax asserts next that the trial judge erred by instructing the jury that

Broadnax “had to prove mitigating circumstances to the jury’s ‘reasonable

satisfaction.’”29       Doc. 1 at 76-77. To Broadnax, the state courts’ “conclusion

       29
            The relevant instruction the jury stated:

       Now, instructing you on aggravating or mitigating circumstances, that does not
       assume or mean to assume as true any matter referred to in these instructions
       concerning aggravating or mitigating circumstances, but it leaves, instead to you, for
       you to determine what the facts are and what the punishment should be.
               ....
       Now, the law of this State provides a list of some of the mitigating circumstances
       which you may consider. But that list is not a complete list of the mitigating
       circumstances you may consider. There are others I will instruct you on later.

       Now, by reading the list of these mitigating circumstances on which you may
       consider from the evidence . . it is not the Court saying that these mitigating
       circumstances do exist, but these are statutory mitigating circumstances on which I
       charge you and for you to consider. And these mitigating circumstances must be only

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that this error was harmless is an unreasonable application of clearly established

federal law, . . . .” Id. He argues that the instruction prejudiced him, taking it outside

the harmless error sphere, “because it skewed the jury’s analysis of the mitigation



       established from the evidence only to your reasonable satisfaction. . . .
               ....
       Now, in addition to these seven . . . statutory mitigating circumstances that I have just
       given to you, you may also consider . . . any aspect of the defendant’s character and
       life and any of the circumstances of the capital offense which tend to indicate that the
       defendant should not be sentenced to death.

       Mitigating circumstance does not have to be included in the list which I have read to
       you in order for it to be considered by you. . .

       If you are satisfied from the evidence presented . . . that a mitigating circumstance
       exists in this case, then you may consider it. A mitigating circumstance need merely
       be proven to your reasonable satisfaction and not beyond a reasonable doubt and
       to a moral certainty.
                ....
       Now, ladies and gentlemen, if after a fair consideration of all of the evidence . . . , if
       you are convinced beyond a reasonable doubt to a moral certainty that aggravating
       circumstances do exist and that they outweigh, or that there are no mitigating
       circumstances proven to your reasonable satisfaction, the form of your verdict
       should be: ‘We, the jury, fix the punishment of the defendant, Donald Broadnax, as
       death by electrocution.’
                ....
       If you are reasonably satisfied as to the existence of any mitigating circumstances,
       and if, in your judgment, those mitigating circumstances outweigh the aggravating
       circumstances – . . . It is not the number of aggravating circumstances versus
       mitigating circumstances, or mitigating circumstances versus aggravating
       circumstances, but the seriousness of the aggravating circumstances and the
       mitigation as shown to your reasonable satisfaction. . . . .

       And if you are reasonably satisfied that mitigating circumstances exist and that they
       outweigh the aggravating circumstances, then the form of your verdict should be:
       ‘We, the jury, fix the punishment of Donald Broadnax at life imprisonment without
       parole.’”

Broadnax, 825 So. 2d at 212-13 (quoting doc. 12, Vol. 8, Tab 26 at 342-57).

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evidence and could have led [the jury to conclude] that there was no mitigation

evidence, even though some jurors believed there was.” Id. at 77-78.

       Although the ACCA held that the court’s instructions were erroneous,30 it

found the error harmless, noting that:

       The evidence in support of the aggravating circumstances is
       overwhelming; the evidence in support of the mitigating circumstances
       is minimal. In light of the overwhelming evidence presented in support
       of the aggravating circumstances, there is no question, that, had the jury
       been properly instructed, it would still have recommended death as the
       penalty. The facts presented to the jury established, beyond any doubt,
       that the aggravating circumstances clearly outweighed the mitigating
       circumstances. Even if the jury had been properly instructed and had
       found that the mitigating circumstances existed, the aggravating
       circumstances overpower any mitigation. Because we conclude that the
       evidence, as presented, conclusively establishes, that no rational jury,
       properly instructed, could have found otherwise, the trial court’s
       erroneous instruction was harmless.

Broadnax, 825 So. 2d at 216. And, the Alabama Supreme Court affirmed, finding that

the instruction had no impact on the jury’s recommendation or on the trial court’s

sentence of death.31


       30
         The court held – “The defendant has the burden of interjecting a mitigating circumstance;
he does not, as the trial court’s instruction suggests, have to establish the existence of a mitigating
circumstance to the reasonable satisfaction of the jury.” Broadnax, 825 So. 2d at 214.
       31
         The Alabama Supreme Court found:
       In the trial court’s instruction to the jury during the penalty phase, the trial court
       stated: “these mitigating circumstances must be only established from the evidence
       only to your reasonable satisfaction.” As the [ACCA] held, this instruction was
       erroneous. Therefore, we must determine if the [ACCA] improperly concluded that
       the error was harmless.

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       “[H]armless-error analysis applies to instructional errors so long as the error

at issue does not categorically vitiate all the jury’s findings.” Hedgpeth v. Pulido,

555 U.S. 57, 61 (2008)(internal citations and quotations omitted). “[A] federal court

may grant habeas relief based on trial error only when that error had substantial and

               ...
       [A]n erroneous instruction on the consideration to give mitigating evidence is subject
       to a harmless-error review. . . . .

       Here, three aggravating circumstances were established beyond a reasonable doubt
       as evidenced by the jury’s verdicts from the guilt phase. A review of the record
       adequately supports the finding that the killings of Jan and DeAngelo were
       “especially heinous, atrocious, or cruel” when compared to other capital offenses, .
       . . . Thus, the state presented compelling evidence of the aggravating circumstances.

       Although the defense was not limited in presenting evidence of mitigating
       circumstances, the mitigating evidence was minimal. Broadnax argued that because
       the murders were committed shortly after he had been denied parole, he was “under
       the influence of extreme mental or emotional disturbance” when he committed the
       murders, . . . He also presented testimony from his sister Dorothy McKinstry of
       nonstatutory mitigating circumstances.

       During the argument portion of the penalty phase, both the state and defense counsel
       argued that it was proper for the jury to consider the mitigating evidence . . .
       presented. The trial court stated in its order imposing the death sentence that, when
       it weighed the aggravating and mitigating circumstances, it considered “all of the
       matters that were presented . . . , the testimony heard at trial and the sentencing
       hearing . . . , both in mitigation and by aggravation.”

       After carefully reviewing all the evidence presented during the penalty phase, we
       unhesitatingly conclude that even if the jury had been properly instructed on the
       consideration it should give the statutory and nonstatutory mitigating circumstances,
       the jury would have recommended a death sentence . . . Moreover, the trial court’s
       sentencing order indicates that it gave the mitigation evidence proper consideration.
       Considering the totality of the circumstances, we hold that the jury instruction,
       although erroneous, had no impact on the jury’s recommendation or on the trial
       court’s sentence of death.

Ex parte Broadnax, 825 So. 2d at 235-37 (emphasis in original).

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injurious effect or influence in determining the jury’s verdict,” Calderon v. Coleman,

525 U.S. 141, 145 (1998)(quoting Brecht, 507 U.S. at 637)(internal quotations

omitted), “that is, more than a reasonable possibility that the error contributed to the

sentence,” Horsley v. Alabama, 45 F.3d 1486, 1493 (11th Cir. 1995). The Brecht

standard –

      reflects the presumption of finality and legality that attaches to a
      conviction at the conclusion of direct review. It protects the State’s
      sovereign interest in punishing offenders and its good-faith attempts to
      honor constitutional rights, while ensuring that the extraordinary remedy
      of habeas corpus is available to those whom society has grievously
      wronged.

      A federal court upsets this careful balance when it sets aside a
      state-court conviction or sentence without first determining that the error
      had a substantial and injurious effect on the jury’s verdict. The social
      costs of retrial or resentencing are significant, and the attendant
      difficulties are acute in cases such as [Calderon], where the original
      sentencing hearing took place in November 1981, some 17 years ago.
      The State is not to be put to this arduous task based on mere speculation
      that the defendant was prejudiced by trial error; the court must find that
      the defendant was actually prejudiced by the error.

Calderon, 525 U.S. at 145-46 (internal citations and quotations omitted).

      The court finds that Broadnax has failed to show actual prejudice rather than

mere speculation of such. A review of the record shows that the trial court’s

instructions did not have a substantial and injurious effect or influence on the death

sentence in this case. First, even if the court assumes the mitigating factors of



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“emotional distress and a cruel childhood,” which were before the jury, “the full force

of the savage facts of [these] crime[s],” Horsley, 45 F.3d at 1492, are such that no

jury would have found that the mitigating circumstances outweighed the aggravating

circumstances. Second, the sentencing court and the state appeals courts reviewed

independently the aggravating and mitigating circumstances, and each court found

death was the appropriate penalty. Ex parte Broadnax, 825 So. 2d at 236-37;

Broadnax, 825 So. 2d at 214-17 (ACCA opinion); id. at 224-26 (ACCA opinion on

return from remand); id. at 233 (Appendix A, circuit court’s sentencing order).

“[T]he imbalance between aggravating and mitigating (including nonstatutory

factors) circumstances marked by Alabama’s appellate courts” is “persuasive, as a

factual matter, in [this court’s] weighing of injurious effect on the sentencer.”

Horsley, 45 F.3d at 1492. Therefore, after reviewing the record de novo, the court

finds that the instructional error during the penalty phase was harmless, as it did not

have a substantial and injurious effect or influence on the jury’s recommendation, or

on the trial judge who gave the mitigation evidence needed consideration before

deciding to sentence Broadnax to death. As such, habeas relief on this issue is due

to be denied.




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                 3. Whether the Trial Court Gave an Inaccurate Instruction on
                 Heinous, Atrocious, or Cruel Aggravating Circumstance (Claim E)

       Broadnax claims the trial court erred by failing to instruct the jury in such a

way as to narrow the vague HAC aggravator.32 Doc. 1 at 79-80. Specifically, he

contends, “[t]he judge instructed the jury on the [HAC] aggravator but did not instruct

the jury that they had to find that the murder[s] [were HAC] ‘as compared to other

capital murders,’” and “the trial court’s removal of [this] phrase . . . expanded the

[HAC] aggravator.” Id. (quoting Ala. Code § 13A-5-49(8)). Therefore, he argues,

“the aggravator was not properly narrowed, and the Alabama Supreme Court’s

conclusion to the contrary derived from an unreasonable application of clearly

established United States Supreme Court precedent.” Id. at 81.33

       32
            See n.15 supra.
       33
          The Alabama Supreme Court, citing Ex parte Kyzer, 399 So. 2d 330, 334 (Ala.1981), and
Ex parte Bankhead, 585 So. 2d 112, 124-25 (Ala. 1991), held that “The [ACCA] properly applied
the well-established law defining and applying this aggravating circumstance,” and that “[d]espite
the fact that the trial court’s instruction did not include the phrase ‘compared to other capital
offenses,’ the instruction, when reviewed in its entirety, adequately narrowed this circumstance.”
Ex parte Broadnax, 825 So. 2d at 237 (emphasis in original). As the Eleventh Circuit has held:

       Since the 1981 case of Kyzer v. Alabama, . . ., the Alabama appellate courts have
       confined the application of the [HAC] aggravating factor to “those conscienceless or
       pitiless homicides which are unnecessarily torturous to the victim.” Kyzer, 399 So.
       2d at 334 (citing State v. Dixon, 283 So. 2d 1 (Fla.1973)). The class of cases that are
       “unnecessarily torturous to the victim” is not too indefinite to serve the narrowing
       function mandated by the eighth amendment. See Proffitt v. Florida, 428 U.S. 242,
       255-56, 96 S. Ct. 2960, 2986, 49 L. Ed. 2d 913 (opinion of Stewart, Powell, Stevens,
       JJ.), reh’g denied, 429 U.S. 875, 97 S. Ct. 198, 50 L. Ed. 2d 158 (1976). Thus, when
       Lindsey was sentenced in 1982, the courts of Alabama had already developed and
       consistently applied a narrowing construction of the term “heinous, atrocious or cruel

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       “A trial judge has considerable discretion in choosing the language of an

instruction so long as the substance of the relevant point is adequately expressed.”

Boyle v. United States, 556 U.S. 938, 946 (2009). Here, the trial court instructed the

jury “what is intended to be included in these [HAC] aggravating circumstances are

those capital offenses . . . where the actual commission of the capital offense was

accomplished by such additional act as to set the crime apart from the norm of capital

offenses.” Doc. 12, Vol. 8, Tab 26 at 346. The trial court added that, “[f]or a capital

offense to be especially heinous . . . or atrocious, any brutality which was involved

in it must have exceeded that which is normally present in any capital offense,” and

“[f]or a capital offense to be especially cruel, it must be conscienceless or a pitiless

crime which was unnecessarily tortuous to the victim.” Id. at 346-47.

       These instructions required the jury to find the murders were heinous,

atrocious, or cruel as compared to other capital murders, even if the trial court did not

quote the language of the statute. The substance of the “compared to other capital

offenses” requirement was adequately expressed in the trial court’s instructions to the

jury that, to find Broadnax’s murders of the two victims satisfied the aggravator, they

had to find (1) additional acts that set apart these murders from the norm, (2) that the


       as compared to other capital offenses.”

Lindsey v. Thigpen, 875 F.2d 1509, 1514 (11th Cir. 1989).

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murders were more brutal than the normal capital offense, and (3) that Broadnax was

unnecessarily torturous to his victims. This court finds no error in the Alabama

Supreme Court’s decision that, “[d]espite the fact that the trial court’s instruction did

not include the phrase ‘compared to other capital offenses,’ the instruction, when

reviewed in its entirety, adequately narrowed this circumstance.” Ex parte Broadnax,

825 So. 2d at 237. Therefore, because most, if not all, fairminded jurists would agree,

habeas relief on this issue is due to be denied.

             4. Whether the Trial Court Erred by Instructing the Jury
             Regarding the Advisory Nature of Jury’s Recommendation of Death
             (Claim I)

      Broadnax argues next that the court erred by instructing the jury that their

recommendation of a sentence was only advisory, stating:

      In Caldwell v. Mississippi, [472 U.S. 320 (1985),] the . . . Court held
      that it was improper for a judge or prosecutor to inform the jury that
      their decision was reviewable. Here, the judge and the prosecutor
      stressed to the jury that their verdict was merely advisory. The judge
      and prosecutor trivialized the jury’s role in the proceedings by not
      explaining to them that their decision must be given some weight as the
      judge is determining the ultimate sentence. The Court of Criminal
      Appeals rejected this argument because it found that the statements were
      a correct recitation of Alabama law. This conclusion is both an
      unreasonable application of Caldwell and an unreasonable determination
      of the facts.

Doc. 1 at 92-93 (footnotes omitted). Although Broadnax concedes that the trial

court’s statement to the jury regarding the advisory nature of its verdict was

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“accurate,” id. at 95, he contends Caldwell held that “it is constitutionally

impermissible to rest a death sentence on a determination made by a sentencer who

has been led to believe that the responsibility for determining the appropriateness of

the defendant’s death rests elsewhere,” id. at 94 (quoting Caldwell). He argues that

“Caldwell does not have a ‘correctness’ exception,” and that the ACCA

“unreasonably applied clearly established federal law when it concluded that

Caldwell was not violated because the trial court’s statement was correct.” Id. at 96.



      “To establish a Caldwell violation, a defendant necessarily must show that the

remarks to the jury improperly described the role assigned to the jury by local law.”

Romano v. Oklahoma, 512 U.S. 1, 9 (1994)(quoting Dugger v. Adams, 489 U.S. 401,

407 (1989)). As the Court explained,

      The plurality [in Caldwell] concluded that the prosecutor’s remarks,
      along with the trial judge’s affirmation, impermissibly “minimize[d] the
      jury’s sense of responsibility for determining the appropriateness of
      death.” Id., at 341, 105 S. Ct., at 2646. Such a diminution, the plurality
      felt, precluded the jury from properly performing its responsibility to
      make an individualized determination of the appropriateness of the
      death penalty. Id., at 330-331 . . . Justice O’Connor, in her opinion
      concurring in part and concurring in the judgment, identified more
      narrowly the infirmity in the prosecutor’s remarks: “In my view, the
      prosecutor’s remarks were impermissible because they were inaccurate
      and misleading in a manner that diminished the jury’s sense of
      responsibility.” Id., at 342 . . . .



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      As Justice O’Connor supplied the fifth vote in Caldwell, and concurred
      on grounds narrower than those put forth by the plurality, her position
      is controlling. . . . Accordingly, we have since read Caldwell as
      “relevant only to certain types of comment – those that mislead the jury
      as to its role in the sentencing process in a way that allows the jury to
      feel less responsible than it should for the sentencing decision.” Darden
      v. Wainwright, 477 U.S. 168, 184, n.15, 106 S. Ct. 2464, 2473, n.15, 91
      L. Ed. 2d 144 (1986). Thus, “[t]o establish a Caldwell violation, a
      defendant necessarily must show that the remarks to the jury improperly
      described the role assigned to the jury by local law.” Dugger v. Adams,
      ....

Id. at 8-9. Here, however, Broadnax concedes that the trial court’s statement was

“accurate.” Doc. 1 at 95. Therefore, he has no claim that the ACCA unreasonably

applied Caldwell to his case, and habeas relief on this issue is due to be denied.

D. ERRORS IN THE TRIAL COURT’S SENTENCING ORDER (Claim F)

      Broadnax challenges next the trial court’s sentencing order: “The trial court

made numerous factual and legal errors in Mr. Broadnax’s sentencing order. He did

so even after the [ACCA] remanded the case to correct those errors. These errors

indicate that he did not consider mitigation.” Doc. 1 at 81. Broadnax adds that:

      The [ACCA’s] conclusion that the sentencing order was satisfactory
      constitutes an unreasonable application of Woodson, Lockett, and
      Brown.34 The trial court’s inclusion of events that did not occur and his
      warping of the testimony indicates that he was not giving Mr. Broadnax
      the individualized consideration the Constitution requires. Even more
      than the trial court’s three failed attempts at writing an accurate order is


      34
       See California v. Brown, 479 U.S. 538 (1987); Lockett v. Ohio, 438 U.S. 586 (1978);
Woodson v. North Carolina, 428 U.S. 280 (1976).

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      the way the mitigation evidence was treated. The trial court took
      Dorothy McKinstry’s testimony and turned it into a diagnosis of
      anti-social personality disorder, something that is typically considered
      harmful, not helpful. There was no mental health expert testimony
      presented, and in fact, . . . Mr. Broadnax’s attorneys never had him
      evaluated for mental health issues. The [ACCA’s] conclusion that the
      trial court gave the mitigation evidence the proper constitutionally
      required review is an unreasonable application of clearly established .
      . . precedent.

Id. at 83-85 (original footnotes omitted; footnote added).

      The only specific portion of the third and final sentencing order Broadnax

objects to is the trial court’s treatment of Dorothy McKinstry’s testimony. In

particular, Broadnax challenges the court’s statement that “[t]he Defense [had]

presented testimony by the Defendant’s sister concerning the manner in which the

Defendant was reared and his antisocial behavior during his teenage years.”

Broadnax, 825 So. 2d 134, 227 (Appendix A). The trial court stated that Dorothy

McKinstry testified that Broadnax “did not have normal social contact with people

and that he never really learned how to behave around other people,” and that he did

not have “very many friends.” Id. at 229. And, viewing this testimony in the “most

favorable light” to Broadnax, the trial court found Mrs. McKinstry “may have

testified to” a “mitigating circumstance of an antisocial personality disorder.” Id. at

233. Still, the trial court found that, even “if this [antisocial behavior/antisocial

personality disorder] is a mitigating circumstance, . . . it is totally outweighed by the

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aggravating circumstances as presented by the evidence.” Id. The ACCA affirmed,

finding that “[a]fter an independent weighing [of the aggravating circumstance and

the mitigating circumstances], . . . that the sentence of death is the appropriate

sentence in this case.” Id. at 225.

       According to Broadnax, the ACCA’s finding “that the sentencing order was

satisfactory” is an unreasonable application of Woodson, Lockett, and California.35

But, the trial court’s third sentencing order and the ACCA’s opinion establish

unequivocally that these courts considered Dorothy McKinstry’s testimony and

accorded Broadnax the required “individualized sentencing.”36 Consideration of

mitigation evidence does not mean, however, that the court has to give the evidence

any specific weight. To the contrary, as the Court held in Kansas v. Marsh,

       In aggregate, [Supreme Court] precedents confer upon defendants the
       right to present sentencers with information relevant to the sentencing
       decision and oblige sentencers to consider that information in
       determining the appropriate sentence. The thrust of [Supreme Court]
       mitigation jurisprudence ends here. “[The Court has] never held that a
       specific method for balancing mitigating and aggravating factors in a
       capital sentencing proceeding is constitutionally required.” Franklin [v.
       Lynaugh, 487 U.S. 164,] 179, 108 S. Ct. 2320 [(1988)(plurality
       opinion)](citing Zant [v. Stephens, 462 U.S. 862,] 875–876, n.13, 103
       S. Ct. 2733 [(1983)]). Rather, [the] Court has held that the States enjoy

       35
            See n.34 supra.
       36
         See Kansas v. Marsh, 548 U.S. 163, 174 (2006)(“The use of mitigation evidence is a
product of the requirement of individualized sentencing.”)(citing Graham v. Collins, 506 U.S. 461,
484-89 (1993) (Thomas, J., concurring)).

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      “‘a constitutionally permissible range of discretion in imposing the death
      penalty.’” Blystone [v. Pennsylvania], 494 U.S. [299,] 308, 110 S. Ct.
      1078 [(1990)](quoting McCleskey v. Kemp, 481 U.S. 279, 305-306, 107
      S. Ct. 1756, 95 L. Ed. 2d 262 (1987)). See also 494 U.S., at 307, 110 S.
      Ct. 1078 (stating that “[t]he requirement of individualized sentencing in
      capital cases is satisfied by allowing the jury to consider all relevant
      mitigating evidence”); Graham, supra, at 490, 113 S. Ct. 892
      (THOMAS, J., concurring)(stating that “[o]ur early mitigating cases may
      thus be read as doing little more than safeguarding the adversary process
      in sentencing proceedings by conferring on the defendant an affirmative
      right to place his relevant evidence before the sentencer”).

548 U.S. at 175. Stated differently,

      The United States Supreme Court has held [only] that the Eighth and
      Fourteenth Amendments require that a sentencer not be prohibited from
      considering as mitigation “any aspect of a defendant’s character or
      record and any of the circumstances of the offense that the defendant
      proffers as a basis for a sentence less than death.” Eddings v.
      Oklahoma, 455 U.S. 104, 110, 102 S. Ct. 869, 71 L. Ed. 2d 1 (1982)
      (quoting Lockett v. Ohio, 438 U.S. 586, 604, 98 S. Ct. 2954, 57 L. Ed.
      2d 973 (1978)). The trial court may determine the appropriate weight
      to be afforded such mitigation, but it may not exclude such evidence, as
      a matter of law, from consideration altogether. Id. at 114-15, 102 S. Ct.
      869. As we have explained, however, the Constitution “does not dictate
      the effect that must be given once the evidence is considered; it does not
      require the sentencer to conclude that a particular fact is mitigating or
      to give it any particular weight.” Schwab v. Crosby, 451 F.3d 1308,
      1329 (11th Cir. 2006). All that is forbidden is for sentencing courts to
      give mitigating evidence “no weight by excluding such evidence from
      their consideration.” Eddings, 455 U.S. at 115, 102 S. Ct. 869
      (emphasis added). Thus, our consideration is “completed once it is
      established that a full hearing was conducted in which appellant’s
      counsel was given an opportunity to present all of the mitigation
      evidence.” Baldwin v. Johnson, 152 F.3d 1304, 1323 (11th Cir. 1998)
      (quoting Palmes v. Wainwright, 725 F.2d 1511, 1523 (11th Cir. 1984)).



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Clark v. Attorney Gen., Fla., 821 F.3d 1270, 1286-87 (11th Cir. 2016).

       A review of the third sentencing order shows that the trial court “considered”

the substance of Dorothy McKinstry’s testimony. To the extent Broadnax’s claim is

based on the trial court’s alleged assumption that this testimony supported a finding

that Broadnax suffered from anti-social personality disorder,37 he has not shown that

such an assumption was an unreasonable application of Supreme Court precedent,38

or that Supreme Court cases establish clearly that the trial court, as the sentencer,

could not give this effect to the testimony. And, to the extent the trial court erred in

assuming that Dorothy McKinstry testified that Broadnax suffered from anti-social

personality disorder, the error did not have a substantial and injurious effect on

Broadnax’s sentence. See Schwab, 451 F.3d at 1330. The ACCA found, “[a]fter an

independent weighing [of the aggravating and mitigating circumstances], . . . that the

       37
            The trial court stated:

       The Court, in considering the testimony of the Defendant’s sister, even in the most
       favorable light on behalf of the Defendant found that any mitigating circumstance of
       an anti-social personality disorder that she may have testified to was greatly out
       weighed by the aggravating circumstances as presented in the evidence in this case
       and that even in consideration, if this is a mitigating circumstance, that it is totally
       outweighed by the aggravating circumstances as presented by the evidence.

Broadnax, 825 So. 2d at 233 (Appendix A)(emphasis added).
       38
           See Schwab v. Crosby, 451 F.3d 1308, 1329 (11th Cir. 2006)(“The Constitution requires
that the sentencer be allowed to consider and give effect to evidence offered in mitigation, but it does
not dictate the effect that must be given once the evidence is considered; it does not require the
sentencer to conclude that a particular fact is mitigating or to give it any particular weight.”).

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sentence of death is the appropriate sentence in this case,” and “that similar offenses

have been punished with sentences of death.” Broadnax, 825 So. 2d at 225 (citing,

inter alia, Ex parte Melson, 775 So. 2d 904 (Ala. 2000); Ex parte Ingram, 779 So. 2d

1283 (Ala. 2000); Ferguson v. State, 814 So. 2d 925 (Ala. Crim. App. 2000); Ex

parte Borden, 769 So. 2d 950 (Ala. 2000); Ward v. State, 814 So. 2d 899 (Ala. Crim.

App. 2000); Perkins v. State, 808 So. 2d 1041 (Ala. Crim. App. 1999)). Based on a

review of the record, this court finds “[t]here is no possibility that any error the judge

may have made in [assuming that Dorothy McKinstry’s testimony] offered in

mitigation [described Broadnax as suffering from an antisocial personality disorder]

had any effect or influence on his sentencing decision, much less a substantial and

injurious one.” See Schwab, 451 F.3d at 1330.

      To close, Broadnax has failed to demonstrate that the ACCA’s rejection of this

claim applied law contrary to established Supreme Court precedent or in a manner

that was objectively unreasonable in light of such precedent. Nor has Broadnax

established that the trial court’s consideration of McKinstry’s testimony had a

substantial and injurious influence on his sentence. Therefore, Broadnax is not

entitled to habeas relief on this ground.

E. PROSECUTORIAL MISCONDUCT




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      Broadnax challenges also allege misconduct by the prosecutor during closing

arguments.

      1. Whether Purported Comments About Broadnax’s Silence Violated the
      Fifth Amendment (Claim G)

      Broadnax argues that the prosecutors violated his constitutional right to remain

silent by making two references to his failure to testify during closing arguments.

Doc. 1 at 86. “[T]he Fifth Amendment, in its . . . bearing on the States by reason of

the Fourteenth Amendment, forbids . . . comment by the prosecution on the accused’s

silence.” Griffin v. California, 380 U.S. 609, 615 (1965). But, “[a] comment on the

failure of the defense, as opposed to that of the defendant, to counter or explain the

testimony presented or evidence introduced is not an infringement of the defendant’s

fifth amendment privilege.” Duncan v. Stynchcombe, 704 F.2d 1213, 1215-16 (11th

Cir. 1983)(emphasis in original; citation omitted). As explained by the Eleventh

Circuit,

      The Fifth Amendment prohibits a prosecutor from commenting directly
      or indirectly on a defendant’s failure to testify. A prosecutor’s statement
      violates the defendant’s right to remain silent if either (1) the statement
      was manifestly intended to be a comment on the defendant’s failure to
      testify; or (2) the statement was of such a character that a jury would
      naturally and necessarily take it to be a comment on the failure of the
      accused to testify. The question is not whether the jury possibly or even
      probably would view the remark in this manner, but whether the jury
      necessarily would have done so. The defendant bears the burden of
      establishing the existence of one of the two criteria. The comment must

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      be examined in context, in order to evaluate the prosecutor’s motive and
      to discern the impact of the statement.

United States v. Knowles, 66 F.3d 1146, 1162-63 (11th Cir. 1995)(emphasis in

original; quotations and footnotes omitted). With this background in mind, the court

turns now to Broadnax’s specific contentions.

                a. “Are they giving me another reasonable explanation for this?”

      Broadnax contends that the prosecutor commented on his failure to testify by

saying to the jury that they should question whether defense counsel “are . . . giving

me another reasonable explanation for this?” Doc. 1 at 86-87 (quoting doc. 12, Vol.

7 at 161). He argues, “[w]hen viewed in context, . . . [i.e. that] [t]his statement was

made before the defense had the opportunity to make its closing argument to the

jury[,] . . . it could only have been designed to make the jury believe that Mr.

Broadnax had to explain these things to the jury.” Id. at 89. But, in context, the

prosecutor’s statements do not “manifestly” comment on Broadnax’s failure to testify,

nor are they of such a character that the jury would naturally and necessarily take

them as such.39 To the contrary, the statements refer specifically to Broadnax’s

      39
           The relevant portion of the prosecutor’s argument consisted of the following:

      The Judge is going to give you an instruction on circumstantial evidence. And I think
      it will be something like this: To convict on circumstantial evidence alone, there
      cannot be any other reasonable explanation for this set of circumstances. I like to
      turn that around a little bit, because the flip side of that is true also. If you look at all
      the circumstances and you determine that there is no other reasonable explanation for

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attorneys and the explanation they will offer during their closing argument to counter

the circumstantial evidence. In particular, the prosecutor asked the jury to consider

whether Broadnax’s attorneys offered a reasonable explanation for the presence of

the victims’ blood on Broadnax’s boots, which Broadnax told Det. Cunningham he

sold to a “white guy” a year before the murders, and on his work uniform, which he

told Det. Cunningham someone had stolen, and how these articles had ended up in

the WRC after the murders. The prosecutor did not tell the jury – directly or

indirectly – that they should find Broadnax guilty because of his failure to counter

this circumstantial evidence. Instead, the prosecutor asked the jury specifically to

consider whether, during closing argument, Broadnax’s attorneys offered a reasonable

explanation of the circumstantial evidence. As such, the prosecutor’s closing

argument neither manifestly commented on Broadnax’s failure to testify nor was it


       all these things, then he’s guilty, and you have to find him guilty if there’s no other
       reasonable explanation.

       And he’s got two fine attorneys. And what I want you to be thinking the whole time
       they’re up here is: Are they giving me another reasonable explanation for all of this?
       Are they explaining this in a reasonable way? Does it make sense, or is it like that
       little boy with the cookie stains on his mouth saying that Martians beamed into the
       kitchen and took that bite out of the cookie? I mean, I don’t know what their story
       is. Is it that this white guy that he supposedly sold these boots to a year before was
       picked up [as] a hitchhiker by Jan and killed her. And then, in the meantime, had
       broken into [the WRC] and stole some of his uniforms and then brought them back
       into [the WRC], with his boots and uniforms and framed him? And if so, what is the
       person’s motives? Look at whether they provide you with a reasonable explanation.

Doc. 12, Vol. 7, Tab 16 at 160-62.

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of such a character that the jury naturally and necessarily would take it as a comment

on Broadnax’s failure to testify.

             b. “There’s absolutely no tape of this defendant that’s been played
             in here where [Broadnax] was saying, ‘I tried to call my brother.’”

      Broadnax argues next that “[t]he prosecutor made one reference to [his] failure

to testify in reference to whether [he] called his brother during the evening that his

wife and grandson were murdered.” Doc. 1 at 87 (quoting doc. 12, Vol. 8 at 246-47.

At issue here are comments the parties made during their respective closing

arguments. Specifically, in closing, Broadnax’s attorney repeatedly referred to

statements Broadnax made to Det. Cunningham that he purportedly “tried” to call his

brother –

      •      “[Detective Vince Cunningham] talked to Donald the next [day],
             and y’all will remember, he said he talked to Donald on the 26th.
             The murder occurred on the 25th. Donald told him, ‘I was on the
             phone trying to make a call to my brother.’ Vince asked him what
             time was that. He said, ‘About 9:15.’” Doc. 12, Vol. 8 at 220.

      •      “Johnny Baker told Vince Cunningham at a later date, ‘I saw him
             on the phone at 9:15,’ you see. That coincides exactly with what
             Vince had got from [Broadnax] when he talked to him on the
             26th. [‘]I was on the phone at 9:15 trying to call my brother.[‘]”
             Id.

      •      “[The prosecutor,] Mr. Cochran, being the good lawyer he is, he
             stood and told you that the tape recording said, ‘I was talking to
             my brother.’ That was not what Cunningham said, and that is not



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              what that tape said. What it said was, ‘I was trying to call my
              brother.’” Id. at 220-21.

And, in response to these statements by Broadnax’s counsel, the prosecutor in rebuttal

argued her view of the evidence – that Det. Cunningham did not testify that Broadnax

told him he had “tried” to call his brother and that the tape-recorded statement

Broadnax gave Det. Cunningham did not contain any such statement.40

       Based on the record and viewing the prosecutor’s argument in context, the

court finds no error in the state court’s determination that the prosecutors did not

comment on Broadnax’s failure to testify.41 Broadnax has failed to demonstrate that


       40
          The prosecutor said –
       There’s absolutely no tape of this defendant that’s been played in here where he was
       saying, “I tried to call my brother.” Again, that came from Mr. Bender who has not
       taken the oath. There was no testimony of [Broadnax] saying, “I tried to call my
       brother.” What did Detective Cunningham say? [“Broadnax] said, [‘]I called my
       brother.[’]” And Detective Cunningham asked him for the number so he could check
       it out.

       Now, do you think if he had said, “I didn’t reach him,” don’t you think these lawyers
       are good enough to have asked Detective Cunningham that if it had been said?
       Absolutely.

Doc. 12, Vol. 8, Tab 18 at 247.
       41
         The ACCA rejected this claim. After noting that defense counsel had argued that Broadnax
told Det. Cunningham that he had “tried” to call his brother from the Welborn break room, the
ACCA held that the prosecutor’s argument in rebuttal was proper:

       When viewing the entire context of the prosecutor’s closing argument, it is obvious
       that the prosecutor was not commenting on Broadnax’s failure to testify. The state
       was merely commenting on whether Cunningham’s testimony and a tape recording
       of a statement showed that Broadnax told the police that he had telephoned his
       brother from Alexander City, or that he had tried to telephone him. The prosecutor

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the state court’s rejection of this claim applied law contrary to established Supreme

Court precedent or in a manner that was objectively unreasonable in light of such

precedent. Therefore, Broadnax is not entitled to habeas relief on this issue.

       2. Whether the Prosecutor Improperly Shifted the Burden of Proof (Claim
K)
       Broadnax argues next that “[d]uring his first closing argument, the prosecutor

told the jury that they should ask whether Mr. Broadnax had given them an

explanation for what occurred in this case,” and that “[t]his statement impermissibly

shifted the burden of proof from the State to Mr. Broadnax . . . .” Doc. 1 at 100. In

relevant part, the prosecutor stated in her closing argument that the jury should “be

thinking the whole time” during counsel for Broadnax’s closing argument whether

counsel have provided “another reasonable explanation for [the evidence].”42 Doc. 12,


       argued that the evidence demonstrated that Broadnax had told Cunningham that he
       had telephoned his brother at 9:15 p.m. Thus, the prosecutor’s argument consisted
       of a proper argument on the evidence introduced at trial. Coral v. State, 628 So. 2d
       [954,] 985 [(Ala. Crim. App. 1992)].

       Given that the defense and the prosecution had conflicting interpretations of the
       statement made by Broadnax to Cunningham concerning a telephone call on the night
       of the offense, and that the telephone call was critical to Broadnax’s alibi defense, the
       prosecutor’s comment concerning the statement was not improper. Thus, the trial
       court did not commit plain error in permitting the prosecutor to comment on the
       statement Broadnax made to Cunningham.

Broadnax, 825 So. 2d at 189 (emphasis in original).
       42
            In relevant context, the prosecutor argued:

       The Judge is going to give you an instruction on circumstantial evidence. And I think

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Vol. 7, Tab 16 at 151-53, 160-62. On direct appeal, the ACCA rejected Broadnax’s

argument that the prosecutor had improperly shifted the burden of proof, finding that

“the state did not attempt to shift the burden of proof to Broadnax,” that “[t]here is

no suggestion from the [prosecutor’s closing] argument that Broadnax had an

obligation to produce any evidence or to prove his innocence,” and that “the trial

court, at the conclusion of the closing arguments, instructed the jury as to the state’s

burden of proof and Broadnax’s presumption of innocence.”43 Broadnax, 825 So. 2d

       it will be something like this: To convict on circumstantial evidence alone, there
       cannot be any other reasonable explanation for this set of circumstances. I like to
       turn that around a little bit, because the flip side of that is true also. If you look at all
       the circumstances and you determine that there is no other reasonable explanation for
       all these things, then he’s guilty, and you have to find him guilty if there’s no other
       reasonable explanation.

       And he’s got two fine attorneys. And what I want you to be thinking the whole time
       they’re up here is: Are they giving me another reasonable explanation for all of this?
       Are they explaining this in a reasonable way? Does it make sense, or is it like that
       little boy with the cookie stains on his mouth saying that Martians beamed into the
       kitchen and took that bite out of the cookie? I mean, I don’t know what their story
       is. Is it that this white guy that he supposedly sold these boots to a year before was
       picked up . . . hitchhik[ing] by Jan and killed her. And then, in the meantime, had
       broken into work release and stole some of [Broadnax’s] uniforms and then brought
       them back into work release, with his boots and uniforms and framed him? And if
       so, what is the person’s motives? Look at whether they provide you with a
       reasonable explanation.

Doc. 12, Vol. 7, Tab 16 at 151-53, 160-62.
       43
          With regard to circumstantial evidence, the trial court instructed the jury: “[T]he test of
the sufficiency of circumstantial evidence is whether the circumstances, as proven, produce a moral
conviction to the exclusion of all reasonable doubt of the guilt of the accused. . . . [W]hether the
evidence is direct or circumstantial, . . . the burden of proof and the measure of proof remain the
same. You must be convinced from the evidence of the defendant’s guilt beyond a reasonable doubt
and to a moral certainty before you would be authorized to convict. And the burden is on the State

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134, 184-85       Consequently, the court “reject[ed] Broadnax’s argument and

conclude[d] that no reasonable juror would have construed the state’s comment to

mean that Broadnax had any burden of proof. No plain error occurred.” Id. Broadnax

contends that the ACCA’s decision finding no plain error is an unreasonable

application of Sandstrom v. Montana and In re Winship. Id. at 101-02 and nn. 287-

288, 290-91 (citing Sandstrom v. Montana, 442 U.S. 510, 513, 525 (1979) and Estelle

v. Williams, 425 U.S. 501, 503 (1976)(quoting In re Winship, 397 U.S. 358 (1970)).

       With regard to improper argument from a state prosecutor, the Eleventh Circuit

has held:

       The Supreme Court declared in In re Winship that “the Due Process
       Clause protects the accused against conviction except upon proof
       beyond a reasonable doubt of every fact necessary to constitute the
       crime with which he is charged.” In re Winship, 397 U.S. 358, 364, 90
       S. Ct. 1068, 1073, 25 L. Ed. 2d 368 (1970). Additionally, the Supreme
       Court has held that a defendant does not have to disprove anything nor
       prove innocence, and state-created presumptions to the contrary are
       violative of due process. See Sandstrom v. Montana, 442 U.S. 510, 99
       S. Ct. 2450, 61 L. Ed. 2d 39 (1979); Mullaney v. Wilbur, 421 U.S. 684,
       95 S. Ct. 1881, 44 L. Ed. 2d 508 (1975).

       [The Eleventh Circuit], in recognizing the government’s burden and
       obligation of proving guilt beyond a reasonable doubt, has recognized
       that a prosecutor’s comment may be so prejudicial as to shift the burden
       of proof. See Duncan v. Stynchcombe, 704 F.2d 1213, 1216 (11th Cir.
       1983). Such prosecutorial misconduct, if “so pronounced and persistent
       that it permeates the entire atmosphere of the trial,” requires reversal.


of Alabama to so convince you from the evidence.” Doc. 12, Vol. 8, Tab 19 at 265.

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      United States v. Alanis, 611 F.2d 123, 126 (5th Cir.), cert. denied, 445
      U.S. 955, 100 S. Ct. 1607, 63 L. Ed. 2d 791 (1980)(quoting United
      States v. Blevins, 555 F.2d 1236 (5th Cir. 1977), cert. denied, 434 U.S.
      1016, 98 S. Ct. 733, 54 L. Ed. 2d 761 (1978)). Prosecutors must observe
      the distinction between the permissible practice of arguing evidence and
      suggesting inferences which the jury might draw from it and the
      impermissible practice of arguing suggestions beyond the evidence. See
      Houston v. Estelle, 569 F.2d 372, 380 (5th Cir. 1978). Additionally,
      prosecutors must refrain from making burden-shifting arguments which
      suggest that the defendant has an obligation to produce any evidence or
      to prove innocence. See Winship, 397 U.S. at 364, 90 S. Ct. at 1072. .
      . . “[T]he limits of proper argument find their source in notions of
      fairness, the same source from which flows the right to due process of
      law.” Houston, 569 F.2d at 380.

United States v. Simon, 964 F.2d 1082, 1086 (11th Cir. 1992).

      Considering the prosecutor’s statements in context, this court finds the

prosecutor directed his statement at defense counsel and their offered explanations

for the circumstantial evidence. The statements did not have the effect of shifting the

burden of proof to Broadnax. But, even if it did, because “the prejudice from the

comments of a prosecutor which may result in a shifting of the burden of proof can

be cured by a court’s instruction regarding the burden of proof,” Simon, 964 F.2d at

1087 (citing, inter alia, Duncan, 704 F.2d at 1216 (11th Cir.1983)), any alleged error

was rendered harmless by the trial court’s instructions to the jury that the State, and

not Broadnax, had the burden to prove each element of each count. See doc. 12, Vol.

8, Tab 19 at 253-54, 265, 347. Therefore, the ACCA’s holding, that the prosecutor



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had “not attempt[ed] to shift the burden of proof to Broadnax,” Broadnax, 825 So. 2d

at 185, was not unreasonable. Alternatively, the ACCA’s determination that any

possible prejudice was cured by the trial court’s instructions regarding the burden of

proof was not unreasonable in light of existing Supreme Court precedent.

      3. Whether the Prosecutor Fabricated a Conversation Between Broadnax
      and Det. Cunningham (Claim L)

      Broadnax argues also that the prosecutor violated his constitutional rights when

she made the following statements in closing:

      [Broadnax] tells Vince [Cunningham] – he’s got an answer for
      everything. Blood on the uniform at the third interview: ‘Oh, Man,
      somebody had stolen my uniform, and I had let the uniform company
      know.’ Well, what do we know? That’s a lie.

      Well, what about the blood on your boots, Donald?

      Oh, I sold those to a white guy about a year ago.

      An answer for everything. And we know that it is all one big lie.

      Is he lying just because for some reason he left the work release center
      to go and have a drink or to go and do something else? Absolutely not.
      He’s lying because he’s guilty of murder. Not one, but two.

Doc. 1 at 103-04; doc. 12, Vol 8, Tab 18 at 237-38. As Broadnax puts it, “[t]he

prosecutor created this argument to make it appear that Mr. Broadnax was actively

lying to the police in response to their questions,” and, in fact, “Mr. Broadnax [had]




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made a voluntary statement telling the police what happened to the items they had

previously asked him about.” Doc. 1 at 103-04.

      In rejecting Broadnax’s claim, the ACCA held that “the prosecutor was merely

attacking the credibility of Broadnax’s statement to law enforcement officers,” that

“[t]hese comments are within the scope of legitimate closing argument,” and that “the

prosecutor was arguing her interpretation of the evidence presented to refute

Broadnax’s statement; we find no plain error.” Broadnax, 825 So. 2d at 185-86

(internal citations omitted). Broadnax contends that this finding that “the

prosecution’s fabricated conversation was proper is an unreasonable application of

United States Supreme Court precedent.” Doc. 1 at 103-04 (citing Miller v. Pate, 386

U.S. 1, 7 (1967); Donnelly v. DeChristoforo, 416 U.S. 637, 646 (1974)).

      This court’s “inquiry is limited to whether the state court unreasonably applied

a holding of the Supreme Court, Williams [v. Taylor], 529 U.S. [362,] 412, 120 S. Ct.

[1495,] 1523 [(2000)], and the Supreme Court has never held that a prosecutor’s

closing arguments were so unfair as to violate the right of a defendant to due

process.” Reese v. Sec’y, Fla. Dep’t of Corr., 675 F.3d 1277, 1287 (11th Cir. 2012).

“The clearly established Federal law relevant here is [the Court’s] decision in Darden

v. Wainwright, 477 U.S. 168, 106 S. Ct. 2464, 91 L. Ed. 2d 144 (1986), which

explained that a prosecutor’s improper comments will be held to violate the

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Constitution only if they so infected the trial with unfairness as to make the resulting

conviction a denial of due process.”             Parker v. Matthews, 567 U.S. 37, 45

(2012)(quoting Darden, 477 U.S. at 181 (quoting Donnelly, 416 U.S. at 643)). And,

in this Circuit, to prevail “the defendant must show a reasonable probability that, but

for the prosecutor’s statements, the result of the proceeding would have been

different.” Davis v. Zant, 36 F.3d 1538, 1545 (11th Cir. 1994) (citations omitted).

       This court has reviewed the trial testimony and finds that the evidence

supports the prosecutor’s argument about Broadnax’s responses to Det.

Cunningham’s questions regarding the uniform and boots.                     The prosecutor’s

argument accurately summarized Det. Cunningham’s testimony that he asked

Broadnax about the blood on the boots and the uniform during the third interview,

and that Broadnax informed him that he sold the boots about a year before the

murders to a “white guy,” and that someone had stolen his uniform and that he

reported the theft to the uniform company.44 Broadnax has not shown that the

prosecutor’s “conversation” was fabricated – Det. Cunningham indeed testified that

Broadnax had responded to his questions regarding the boots and the uniform in the

manner argued by the prosecutor during rebuttal. And, the prosecutor’s argument


       44
          Jimmy Wood, a representative from the uniform company, testified that he never received
a report from Broadnax or anyone else about a stolen or missing uniform. Doc. 12, Vol. 6 at 647,
654-55.

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closely followed Det. Cunningham’s testimony, and, in that respect, she did not

mislead or confuse the jury, even if she did not precisely quote Det. Cunningham’s

questions and Broadnax’s responses.

      To close, Broadnax has not shown that the prosecutor’s argument was

improper, and has not established that any alleged improper argument “so infected the

trial with unfairness as to make the resulting conviction a denial of due process.” See

Parker, 567 U.S. at 45. Therefore, this claim for habeas relief is also due to be denied.

                                   CONCLUSION

      Broadnax has not shown that the state appellate court’s ruling was “objectively

unreasonable,” Virginia v. LeBlanc, 137 S. Ct. at 1728, or that no “fairminded jurists

could agree with the state court’s decision,” Loggins, 654 F.3d at 1220. Therefore,

Broadnax’s claims are due to be denied and his Petition is due to be dismissed. An

Order dismissing Broadnax’s Petition for Writ of Habeas Corpus by Prisoner in State

Custody Under Death Sentence Pursuant to 28 U.S.C. §2254, doc. 1, will be entered

contemporaneously with this Memorandum Opinion.

      DONE and ORDERED this 13th day of December, 2019.



                                  _______________________________
                                       ABDUL K. KALLON
                                  UNITED STATES DISTRICT JUDGE

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